Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 1 of 68

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES CONROY : Civil Action No. 09-cv-01215
Vv.

JBJ LIMOUSINE, INC.

 

t/a JBJ LIMOUSINE :
and JBJ LIMOUSINE AND BUS, INC. : Filed via Electronically
ORDER
AND NOW, this day of , 2009, upon consideration

of Moving Defendants, JBJ Limousine, Inc. t/a JBJ Limousine and JBJ Limousine and Bus,
Inc.’s Daubert Motion To Strike Plaintiff's Expert Reports of Elizabeth Trendowski and Lance
Watt, it is hereby ORDERED AND DECREED that said Motion is granted as follows:
Plaintiff's expert reports of Elizabeth Trendowski and Lance Watt are stricken from the record

and both experts are precluded from testifying at trial in this matter.

BY THE COURT:

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 2 of 68

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES CONROY : Civil Action No. 09-cv-01215
Vv.

JBJ LIMOUSINE, INC.

t/a JBJ LIMOUSINE :

and JBJ LIMOUSINE AND BUS, INC. : Filed via Electronically

 

DEFENDANTS’, JBJ LIMOUSINE, INC. t/a JBJ LIMOUSINE and JBJ LIMOUSINE
AND BUS, INC., DAUBERT MOTION TO
STRIKE PLAINTIFF’S EXPERT REPORTS

AND NOW, come the Moving Defendants, JBJ Limousine, Inc. t/a JBJ Limousine and
JBJ Limousine and Bus, Inc. (hereinafter referred to as “Moving Defendants”), by and through
their counsel, Weber, Gallagher, Simpson, Stapleton, Fires & Newby, LLP, hereby file this
Daubert Motion , and in support thereof, avers as follows:

1. This cause of action arises from an alleged physical altercation which occurred on
or about 11/26/06. See a copy of the Plaintiff's Complaint attached hereto as Exhibit “A”.

2. The Plaintiff's Complaint alleges that the Plaintiff came upon a parked limousine,
which contained minor and adult occupants who at the time were visibly intoxicated, whom
physically assaulted him without provocation or warning. See Exhibit “A” {J 5-8.

3. Plaintiff further avers that the occupants of the Moving Defendants’ vehicle were
permitted and/or invited to drink alcohol to the point of intoxication. Id. at ] 12.

4. It is also alleged that Moving Defendants knew or should have known that by
allowing and/or inviting the occupants to consume excessive amounts of alcohol, and then to

allow the limousine or van containing the occupants to be left unattended, that harm would, or

could be perpetuated, upon people or property. Id. at ¥ 13.

2

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 3 of 68

5. Plaintiff avers that he sustained severe injuries as a result of the Moving
Defendants’ alleged negligence. Id. at | 12.
6. Plaintiff has produced two expert opinions in the instant matter that lack
foundational basis.
7. The criteria for the admission of expert testimony is set forth in FRE 702, which
reads:
If scientific, technical or other specialized knowledge will assist the trier of fact to
understand the evidence or to determine a fact in issue, a witness qualified as an
expert by knowledge, skill, experience, training, or education, may testify thereto
in the form of an opinion or otherwise.

8. Thus, to be admissible, an expert's opinion must have a reasonable basis in the

knowledge and experience of the relevant discipline. Kumho Tire Co., Ltd. v. Carmichael, 526

 

U.S. 137, 149 (1999); Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

9. The Supreme Court further recognized in Daubert, 509 U.S. at 579 that the trial
judge should act to screen evidence to ensure that any and all scientific testimony or evidence
admitted is not only relevant, but reliable. See, also, In re TMI Litigation, 193 F.3d 613, 663 (3d
Cir. 1999).

10. In the case of Kumho Tire Company, Ltd., et_al. v. Carmichael, et al., 526 U.S.
137 (1999), the Supreme Court clarified that its Daubert analysis of was applicable to all types
of expert opinions.

11. | The Supreme Court in Daubert requires trial courts to initially determine the
validity of the methodology utilized by the expert and then whether the methodology applies to

the circumstances in the case at bar. Daubert 509 U.S. at 592-593.
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 4 of 68

12. The Plaintiff has produced in support of his alcohol/intoxication argument, an
allegedly expert opinion from Elizabeth Trendowski, designated as a Dram Shop expert. See

Exhibit “B” which is the report and curriculum vitae offered as an expert opinion from Elizabeth

Trendowski.
13. However, this is not a Dram Shop case.
14. The Moving Defendants are not a liquor licensee and never provided alcohol to

its passengers on the day in question.

15. There is also no evidence that the passenger/assailant was intoxicated at the time
of the physical altercation.

16. | Moreover, the Plaintiff's expert is not qualified to provide an expert opinion in
this matter because this is not a dram shop matter.

17. Ms. Trendowski’s opinion is also unreliable because it is based on unsupported
factual and legal conclusions.

18. | Ms. Trendowski’s opinion relies on standards set for liquor licensees; since the
Moving Defendants are not liquor licensees, this opinion is not relevant to this cause of action.

19. As such, Ms. Trendowski’s report should be stricken for failure to pass the
Daubert standard for expert admissibility.

20. The Plaintiff has also produced an expert report from Lance Watt, a self-
designated bus and truck expert who opines that the actions of the Defendant’s bus driver in not
controlling his passengers resulted in the assault on the Plaintiff. See Exhibit “C” which is the

opinion report and curriculum vitae of the Plaintiff's designated expert Lance Watts.

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 5 of 68

21. | However, Lance Watt is not qualified to offer such an opinion. Mr. Watt is only
experienced in engineering and design of mechanical systems related to trucks and buses and is
not an expert in security, passenger safety and/or bus safety/ operation.

22. In addition Mr. Watt’s opinion is unreliable because it is based on unsupported
factual and legal conclusions.

23. There also exists no law in the Commonwealth of Pennsylvania or standard used
by the Plaintiff's expert to support his contention that Moving Defendants’ driver should have
prevented the passengers from exiting the vehicle.

24. In fact, if the Moving Defendants’ driver did prevent the passengers from exiting
his vehicle it could have opened the Moving Defendants to liability such as false imprisonment.

25. Thus, Mr. Watt’s expert opinion fails the Daubert test and should be stricken from

 

the record.
WHEREFORE, Moving Defendants request that their Motion to Strike be granted in their
favor and that Plaintiffs Expert Reports be stricken from the record with prejudice.
Respectfully submitted,

WEBER GALLAGHER SIMPSON
STAPLETON FIRES & NEWBY, LLP

By:  // Robert D. MacMahon
Robert D. MacMahon, Esquire
Atty. .D.: 54367
Syreeta Peake, Esquire
Atty. LD.: 201327
Attorneys for Defendants
2000 Market Street, 13" Floor
Philadelphia, PA 19103
(215) 972-7900

Date: 11/2/09

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 6 of 68

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

CHARLES CONROY : Civil Action No. 09-cv-01215
Vv.

JBJ LIMOUSINE, INC.
t/a JBJ LIMOUSINE :
and JBJ LIMOUSINE AND BUS, INC. : Filed via Electronically

 

MEMORANDUM OF LAW IN SUPPORT OF THE DEFENDANTS’, JBJ LIMOUSINE,
INC. t/a JBJ LIMOUSINE and JBJ LIMOUSINE AND BUS, INC. DAUBERT MOTION
TO STRIKE PLAINTIFF’S EXPERT REPORTS

Defendants, JBJ Limousine, Inc. t/a JBJ Limousine and JBJ Limousine and Bus, Inc.
(hereinafter referred to as “Moving Defendants”), by and through their attorneys, Weber
Gallagher Simpson Stapleton Fires & Newby LLP, submit the following memorandum of law in
support of their Daubert Motion.

I. PROCEDURAL HISTORY AND FACTS

This cause of action arises from an alleged physical altercation which occurred on or
about 11/26/06. See a copy of the Plaintiff's Complaint attached hereto as Exhibit “A”. The
Plaintiff's Complaint alleges that the Plaintiff came upon a parked limousine which contained
minor and adult occupants who at the time were visibly intoxicated and physically assaulted him
without provocation or warning. See Exhibit “A”, J] 5-8. Plaintiff further claims that the
occupants of the Moving Defendants’ vehicle were permitted and/or invited to drink alcohol to
the point of intoxication. Id. at § 12. It is also alleged that Moving Defendants knew or should
have known that by allowing and/or inviting the occupants to consume excessive amounts of

alcohol, and then to allow the limousine or van containing the occupants to be left unattended,

that harm would, or could be perpetuated, upon people or property. Id. at § 13. Plaintiff avers

6

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 7 of 68

that he sustained severe injuries as a result of the Moving Defendants’ alleged negligence. Id. at
q 12.
Plaintiff initially filed his Complaint in State Court and this case was removed to Federal
Court on or about April 9, 2009 based on diversity. The Plaintiff produced expert opinions of
Lance Watt, Bus and Truck Expert and Elizabeth Trendowski, Dram Shop Expert. For the
following reasons, both of Plaintiffs expert reports should be stricken from the record.
I. LEGAL ARGUMENT
The criteria for the admission of expert testimony is set forth in FRE 702, which reads:
If scientific, technical or other specialized knowledge will assist the trier
of fact to understand the evidence or to determine a fact in issue, a witness
qualified as an expert by knowledge, skill, experience, training, or
education, may testify thereto in the form of an opinion or otherwise.
Thus, to be admissible, an expert's opinion must have a reasonable basis in the knowledge and

experience of the relevant discipline. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149

(1999); Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). The Supreme

 

Court further recognized in Daubert, 509 U.S. at 579, that the trial judge should act to screen

 

evidence to ensure that any and all scientific testimony or evidence admitted is not only relevant,
but reliable. See, also, In re TMI Litigation, 193 F.3d 613, 663 (3d Cir. 1999). In the case of
Kumho Tire Company, Ltd., et al. v. Carmichael, et al., 526 U.S. 137 (1999), the Supreme Court

clarified that its Daubert analysis of was applicable to all types of expert opinions.

 

The Supreme Court in Daubert requires trial courts to initially determine the validity of
the methodology utilized by the expert and then whether the methodology applies to the

circumstances in the case at bar. Daubert 509 U.S. at 592-593. While noting that a Daubert

 

inquiry is a "flexible one" and that different factors will be applicable depending upon the

circumstances, the Supreme Court set forth five non-exclusive factors that can be used in making

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 8 of 68

this evaluation: 1) can the theory or technique in question be tested; 2) has the theory or
technique been subject to peer review and publication; 3) what is the known or potential rate of
error for a particular technique; 4) are there standards that exist and are maintained that control
the technique's operation; and 5) has the theory or technique been "generally accepted". Daubert
509 U.S. at 593-594. The criteria required to qualify an expert turns largely upon the subject
matter of the particular opinion to be offered. Kerrigan v. Maxon Indus., 223 F. Supp. 2d 626,
635 (E.D. Pa. 2002).

For example, in Kerrigan, the Court limited the testimony of the Plaintiff's expert
because the Daubert standard was not met. Id. at 635. In that case, the Court held that three
elements had to be met prior to the admission of expert testimony, the expert had to be qualified
in his area of expertise, his testimony had to be reliable, and it had to assist the trier of fact. Id. at
633. The Court held that portions of the Plaintiff's expert’s report did not meet the criteria.
According to the Court, Plaintiff's expert was not qualified to testify as to the formulation and
function of a shut-off valve because he had no engineering or design experience. Id. at 635. The
Court held:

We find that although [Plaintiff's expert] may speak in general terms about the
function of the hydraulic system (i.e., that it is the hydraulic system that enables
the agitator to rise), [Plaintiffs expert] lacks the necessary background,
experience and training to testify as to the proposed hydraulic line shut-off valve.
[Plaintiff's expert] does not have any experience in designing or constructing
hydraulic systems or safety devices intended to check their operation. The areas
of experience emphasized by Plaintiff, including machinery placement and
movement, truck bed wrecker and installation and heavy truck maintenance and
repair, do not suggest exposure to hydraulic systems in particular. We agree with
Defendant that [Plaintiffs expert’s] understanding of the "principles of mechanics
involved in the use of the power take-off attached to the engine, and its
connection with the hydraulic equipment" does not establish his ability to testify
as to the design and implementation of the proposed hydraulic line safety device
and is not sufficient to qualify him to offer an expert opinion in this area.
Defendant is correct that "it does not matter that [Plaintiff's Expert] might be able
to discuss the basic mechanics with regard to hydraulic installation and possibly

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 9 of 68

safety designs connected with it. What matters, in this case, and where
[Plaintiffs expert] is lacking, is that he has no experience and/or expertise in
construction equipment design, implementation, testing and/or warnings."

Id. at 636.

The Court further notes that the Plaintiff's expert’s opinion is also not reliable because it
fails to offer any designs, drawings, plans, demonstrations or working examples regarding his
methodology. Id. 637-638. As such, the Court ruled as a matter of law since the first two
requirements were not met than the last requirement can also not be satisfied as such the
Plaintiff's expert was precluded from offering testimony on the subject area in question. Id. at
639,

In this case, the Plaintiff has produced two expert opinions regarding liability. Both

expert opinions fail to meet the Daubert standard for expert admissibility and should be stricken

 

from the record.

A. The Expert Opinion of Elizabeth Trendowski Should Be Stricken

Plaintiff has produced in support of his argument regarding the duty of the. Moving
Defendants with regard to intoxicated passengers an expert opinion prepared by Elizabeth
Trendowski, designated as a Dram Shop expert. See Exhibit “B” which is the report and
curriculum vitae of Elizabeth Trendowski. However, this is not a Dram Shop case. The Moving
Defendants are not a liquor licensee and there is no evidence that Moving Defendants served
alcohol to its patrons on the day of this incident. Thus, Plaintiff's expert opinion is not even
applicable and/or relevant to the instant matter.

The Plaintiff's expert is also not qualified to offer an expert opinion as applicable to the
actions of the Defendants’ driver in this case. The present matter requires an expert to opine on

the duty of a driver of a bus to a non-passenger who was injured. Ms. Trendowski is not an

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 10 of 68

expert in safety and/or bus operation. Her curriculum vitae states that she has a college education
in Education and Biology. Her experience is limited to the areas of dram shop issues, and liquor
liability. She has life experience as a liquor permittee and in the area of bartending. However,
none of Ms. Trendowski’s experience listed on her curriculum vitae pertains to the areas of
safety, operation of a bus and/or duty of a non- servicer of alcoholic beverages to bus patrons.
The Moving Defendants are not licensed providers of alcoholic beverages and did not supply any
of their passengers with alcohol. Plaintiff and his expert have not produced any evidence to the
contrary. Thus, Ms. Trendowski is not qualified to give an expert opinion on issues in this case
which fall outside of her expertise.

The Plaintiff's expert opinion is also not reliable because it cites law and standards that
have no applicability to the instant cause of action. Ms. Trendowski cites N.J.S.A. 39:4-51(a)
which explicitly states that it does not apply to a passenger of a charter or special bus or a
limousine service. She also cites N.J. S.A. 33:1-12(4) which specifically applies to liquor
licensees which the Moving Defendants are not. She further contends that provisions of New
Jersey Alcohol Beverage Control were violated; however, she cites to no specific rule in the
handbook or law which was violated. Moreover, the New Jersey Alcohol Beverage Control has
no specific guidelines applicable to limousine/bus companies, despite what is mentioned in Ms.
Trendowski’s report.

Ms. Trendowski also relies on the hospitality industry standards as a basis for her expert
opinion in this matter regarding the safety of passengers in a bus/limousine. However, this is
also not relevant to the instant cause of action. Moving Defendants are not liquor licensees and
therefore can not be held to the standard imposed on liquor licensees. How is the standard

applied to the hospitality industry which is made up of bar establishments relevant to a cause of

10

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 11 of 68

action involving a bus/limo driver who does not serve alcohol? Plaintiffs expert provides no
basis for why she would apply such a standard in this case. Similarly, Ms. Trendowski relies on
guidelines established by Training for Intervention Procedures (TIPS) which is classified as the
“global leader in education and training for the responsible service, sale, and consumption of
alcohol”. See Exhibit “D”. There is no evidence that either the hospitality standard/ and/or the
Training for Intervention Procedures is an industry standard used by bus/limousine companies
and/or is relevant to a cause of action which involves a non-servicer of alcohol. There is also no
evidence that these standards have been used in prior cases and/or have been peer reviewed.

The Plaintiff's expert also relies on standards that are not grounded in the law. Plaintiff's
expert indicates that Moving Defendants’ driver was not given proper training regarding keeping
passengers safely on the bus when it became disabled. She cites the National Safety Council to
support the contention that because the Moving Defendants’ driver did not properly monitor the
bus it became an “attractive nuisance” to Mr. Conroy. However, Mr. Conroy was an adult
individual at the time of this incident and under the law the attractive nuisance doctrine does not
apply to adult individuals. Powell v. Ligon, 5 A.2d 373 (Pa. 1939). It is unclear whether
Plaintiff's expert is even aware that the standard she asserts in her report is not even applicable to
the situation.

In addition, the Plaintiff's expert also alleges that Moving Defendants’ driver should have
prevented the passengers of its vehicle from exiting. However, if the Moving Defendants’ driver
forced its passengers to stay on the bus against their will it would have opened up the Moving
Defendants to liability for false imprisonment. Thus, it would seem implausible for a driver to

force its passengers to stay on a bus against their will.

11

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 12 of 68

Even further, Ms. Trendowski’s report is not reliable because her opinion is based on
unsupported factual conclusions. For example, Ms. Trendowski claims that the Moving
Defendants had minors in their vehicle. However, she fails to cite any evidence produced in the
record that supports this bald allegation. She makes a speculative conclusion which is contrary

to the testimonial evidence in this case. Specifically, a passenger, Janene Castellucci testified:

Q: You were 21 at the time of this trip, correct, Janene?

A: Correct.

Q: Tara was 21 at the time?

A: No.

Q: How old is Tara?

A: She’s 28 now.

Q: Oh, okay. Tara’s older?

A: Yes.

Q: What about Dave Maryles, was he 21 or older at the time?
A: He’s 27 now.

Q: How about Louis Cacciola, was he 21 or older at the time?
A: Older.

Q: All right. What’s Nick’s birthday?

A: 7/20/1985.

Q: Okay. So Nick was 21 or older at the time?

A: Yes

Q: Okay. How about Eileen Mantantici, was she 21 or older at the time?

12

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 13 of 68

Yes, she’s older than me.
Okay. How about Brittany Crocetto, was she 21 or older at the time?
Yes. I believe everyone on the bus was of age.

When you say, of age, you mean 21 or older?

Pr DO F BP Pe

Twenty-one or older.

See a true and correct copy of Janene Castellucci’s deposition testimony taken August 3, 2009,
attached as Exhibit “E”, pp, 28-29.

Plaintiffs expert has no basis to support her conclusion that Moving Defendants had minors on
its bus on the night in question.

Further, Plaintiffs expert makes bald assertions that Moving Defendants’ passengers
were intoxicated on their bus. Ms. Trendowski is not a toxicologist and has no basis for any
conclusions made in her report regarding the level of intoxication, if any, of the Moving
Defendants’ passengers. In fact, no one’s blood or alcohol level was ever measured on the day
of the incident. Therefore, any allegations regarding intoxication are mere speculative
conclusions made by the Plaintiff's expert. Her conclusions are not reliable and not based on
any evidence in the record.

Thus, the Plaintiffs expert’s opinion would not assist the trier of fact in this matter. The
Plaintiffs expert conclusions are entirely based on assertions not grounded in fact or law and
thus not reliable. Ms. Trendowski is not qualified in the area of passenger safety for common
carriers, bus operation and/or bus safety etc. Thus, Ms. Trendowski’s expert opinion should be

stricken as a matter of law from the record.

13

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 14 of 68

B. The Expert Opinion of Lance Watt Should Be Stricken

The Plaintiff has produced an expert report from Lance Watt which also fails the Daubert
standard. Lance Watt opines that the actions of the Moving Defendants’ bus driver in not
properly monitoring their vehicle resulted in the assault on the Plaintiff. See Exhibit “C” which
is the opinion report and curriculum vitae of expert Lance Watts. The Plaintiffs expert opinion
suggests that Moving Defendants’ driver, in not preventing the passengers from getting off the
bus after it had broken down, acted negligently. However, Lance Watt is not qualified to give
such an opinion. According to his curriculum vitae, Mr. Watt has no experience in bus
passenger safety or operation. He has no educational background in this area as well. Mr.
Watt’s credentials primarily are concentrated in the mechanical design and engineering of transit
and commercial vehicles. Thus, he is qualified in only the mechanical aspects of a bus. Mr.
Watt’s experience does not make him qualified in the area of bus passenger safety and/or
operation to provide an opinion as to what a bus driver should do to ensure the safety of its
passengers, etc.

Even further, Mr. Watt’s opinion is not reliable. Mr. Watt’s opinion is based on
unfounded conclusions. He indicates that the Moving Defendants’ vehicle was not being
properly inspected and maintained as required under Federal Motor Carrier Safety Regulations
because it had battery failure. However, Mr. Watt provides no basis for this conclusion. Mr.
Watt’s opinion is grounded in speculation. He never examined the bus, reviewed the
maintenance records for the bus in question and/or presented any evidence which provides a
basis for this conclusion.

In addition, Mr. Watt relies on Keller’s Motorcoach Driver’s Safety Handbook for the

proposition that Moving Defendant’s driver should have monitored its passengers. However,

14
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 15 of 68

Keller’s Motorcoach Driver’s Safety Handbook does not specifically require Moving
Defendants’ driver to monitor the every movement of its passengers. The handbook suggests
that the coach is the “safest place for the passengers” but does not require the driver to ensure
that its passengers do not exit the coach and does not provide any instructions for what a bus
driver is to do for its passengers when its vehicle is not functioning.

Moreover, there is no law in the Commonwealth of Pennsylvania and/or standard cited by
the Plaintiff that states that a driver of a malfunctioning, ie., broken-down, vehicle must
absolutely prevent the passengers from getting off of the vehicle. If the Moving Defendants’
driver did prevent its passengers from exiting their vehicle then the driver would open up
Moving Defendants to potential liability to crimes such as false imprisonment. Thus, the
Plaintiff's expert does not provide any foundation for his conclusions regarding what a driver
should do to protect its passengers and/or vehicle when its vehicle is not working. Mr. Watt also
does not indicate what the industry standard in this situation would be and any specific
guidelines used by drivers in this situation.

Mr. Watt’s expert opinion also would not assist a trier of fact. His testimony is not
supported and not grounded in any standard of the industry. He is not qualified as an expert in
the area of duty of care owed by bus drivers, bus safety, passenger safety and/or operation.
Thus, his opinion would confuse the issues for a jury. As such, his opinion should be stricken

from the record as a matter of law.

15

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 16 of 68

Til. CONCLUSION

 

WHEREFORE, Moving Defendants requests that their Daubert Motion be granted and
Plaintiff's expert opinions be dismissed with prejudice.

Respectfully submitted,
Weber Gallagher Simpson
Stapleton Fires & Newby LLP

By: /! Robert D. MacMahon

Robert D. MacMahon, Esquire
Atty. .D.: 54367
Syreeta Peake, Esquire
Atty. L.D.: 201327
Attorneys for Defendants
2000 Market Street, 13™ Floor
Philadelphia, PA 19103
(215) 972-7900

Date: 11/2/09

16

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 17 of 68

CERTIFICATE OF SERVICE
I, Syreeta Peake, Esquire, do hereby certify that on this _2"™ day of November _, 2009,
I served via first-class mail, postage prepaid, and a true and correct copy of the within Daubert
Motion, electronically and via first class mail, postage prepaid on the following individual:

James N. Gross, Esquire
1616 Walnut Street
Suite 1110
Philadelphia, PA 19103

// Syreeta Peake
Syreeta Peake, Esquire
Attorney for Defendants
JBJ Limousine, Inc. t/a JBJ Limousine
and JBJ Limousine and Bus, Inc.

17
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 18 of 68

EXHIBIT “A”

 
 

 

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 19 of 68

_ 03/03/2009 14:14

3 44:01 FAX 18563848747

Mar 03 09 01:39p James johnson

JAMES N. GROSS, ESQUIRE
IDENTIFICATION NO.: 40715

1616 WALNUT STREET, SUITE 1110
PHILADELPHIA, PA 19103
TELEPHONE NO.; 215-670-9926
FACSIMILE NOQ.: 215-569-3723

 

CHARLES CONROY
Plaintiff
vy.
IBJ LIMOUSINE, INC,
ta JBJ LIMOUSINE
Defendant
v. .
JBI LIMOUSINE AND BUS, INC.
Additional Defendant

ae pe ae as

ae at oe ae ke ome

 

MARKS INS. GROUP

001

856-228-7402 pel

  

ir)
SNe oe?
Map PF oe

a %,
SS s¢ ~e
ATTORNEY FOR PLAINTIBE”

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
CIVIL TRIAL DIVISION
NOVEMBER TERM, 2008

NO. 601961

OTICET END

CE.
YOU HAVE BEEN SUED IN COURT. IF YOU WISH TO DEFEND
AGAINST THE CLAIMSSET FORTH IN THE FOLLOWING PAGES, YOU
MUST TAKE ACTION WITHIN TWENTY (20) DAYS AFTER THIS
COMPLAINT AND NOTICE ARE SERVED, BY ENTERING A WRITTEN
APPEARANCE FERSONALLY OR 8Y ATTORNEY AND BILING IN
. WRITING WITH THE COURT YOUR DEFENSES OR O3JECTIONS TO
THE CLAIMS SET FORTH AGAINST YOU. YOU ARE WARNBD THAT
IF YOU FAIL TO DO SO THE CASE MAY PROCEED WITHOUT You
AND AJUDCMENT MAY BE ENTERED AGAINST YOU SY THE COURT
WITHOUT FURTHER NOTICE FOR ANY MONEY CLAIMED IN THE

COMPLAINT OR FOR ANY OTHER CLAIM OR RELIEF REQUESTED BY -. —

THE PLAIN Five, YOU MAY LOSE MONEY OR PROPERTY OR OTHER
RIGHTS [MPORTANT TO YOu.

YOU SHOULD TAKE THIS PAPER TQ YOUR LAWYER AT ONCE, IF
YOU DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO
OR TELEPHONE THE OFEICE SET FORTH BELOW TO FIND OUT
WHERE YOU CAN GET LEGAL HELP. THIS OFFICE CAN PROVIDE
YOU WITH INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAYBE
ABLE TO PROVIDE YOU WITH SOME INFORMATION ABOUT
AGENCIES THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE
PERSONS AT A REDUCED FEE OR NO FEE.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND INFORMATION SERVICE
110i MARKET STREET, 11" BLOOR
PHILADELPHIA, PA 19107
TELEPHONE: (215) 238-6300

AVISO ‘ :

Le ban demandada a usted en la carte. Si usted quicre defenderse
de estas demandas expuestas en las paginas siguientes, npted
fiene veinte (20) dias de plazo al patie de la fecha de la demanda
y la notificacion. Hace falta asentar una comparencia escrita o
en persona o con un abogade y extregar a la corte en foruta
escrita sus defersas o sus objectonesa las demandas en contra de
au persona. Sea avisada gue sf usted no se defiende, la corte
tomara medidas y puedi f ta de da en contra suya
sin previo aviso o netificacton, Ademas, la corte puede decidir
& favor del demandante y requiere que-usted-cumpla-con-todas ----—» --
Jas provisiones-de esta demauda. Usted puede perder dincra o
aus proptedades o otros derechos fimportantes para usted

LLEVE ESTA’ DEMANDA A.UN ABOGADO
IMMEDIATAMENTE. SI NO TIENE ABOGADO O SI NO
TENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO.
VAYA EN PERSONA O LLAME FOR TELEFONO A LA
OFICINA CHYA DIRECCION SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSECUIR

+ ASISTENCIA LEGA .

ASOCIACION DE LICENCIADOS DE FILADELEIA
SERVICIO DE REFERENCIA E INFORMACION LEGAL
1101 MARKET STREET, 11" FLOOR
FILADELFIA, PENNSYLVANIA 19107

Telefona: (215} 238-6300

'- Case ID: 081101961

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 20 of 68

‘Os. 03. 2009 T4:40 FAX 18563848747 ____ ___ MARKS INS, GROUP @ooz
ar ; j ~228-7402 p-2
Mar O39 G9 01:40p james johnson 856-22
JAMES N, GROSS, ESQUIRE

IDENTIFICATION NO.: 40715
1616 WALNUT STREET, SUITE 1110

 

 

 

 

; PHILADELPHIA, PA 19103
TELEPHONE NO.; 215-670-9926
FACSIMILE NO.:- 215-569-3723 ATTORNEY FOR PLAINTIFF
CHARLES CONROY : COURT OF COMMON PLEAS
Plaintiff : PHILADELPHIA COUNTY
¥ : CIVIL TRIAL DIVISION
JBJ LIMOUSINE, INC. : NOVEMBER TERM, 2008
Ua JBI LIMOUSINE ‘
Defendant :
¥s. , :
JBJ LIMOUSINE AND BUS, INC. : NO, 001961

Additional Defendant

 

COMPLA ~ CIyv

Z20-PERSONAL INJU RY-OTHER

_. _ Plaintiff, by and through b his attomey, James N. Gross, Esquire pleads and alleges as _ _

follows: ‘

1. Plaintiff is Charles Conroy at all times herein a resident of the city and county of
Philadelphia.

2. JBJ Limousine, Inc. t/a JBJ Limousine is a New Jersey Corporation maintaining a

business address of 109 N. Black Horse Pike, Blackwood, NJ 08012.

3. Defendant JBJ Limousine and Bus, Inc. isa registered New Jersey Corporation

with its business address at 100 Crestview Drive, Woodbury, NJ 08096.

Case ID: 081 101961

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 21 of 68

. 03703-2009 14:12 FAY 18563848747 MARKS INS. GROUP

Se ee eee ee {g1003
Mar O39 O09 Qi:41p james johnson 856-228-7402 p.3

4, Defendants are in the business of providing limousines, vans and other vehicles of

a similar nature for hire.
35. On 11/26/06 the defendants provided for rental a limousine with an attendant

driver for use by minors and adult individuals.
6. That the occupants of the limousine became intoxicated and came into contact

with the plaintiff.
7. That at the time the occupants of the defendants’ limousine came into contact with

the plaintiff, defendants’ limousine was parked in the 300 block of Market Street in Philadelphia,

PA.

 

8. That upon the plaintiff coming upon the limousine, certain of the minor and adult
occupants, who at that time were visibly intoxicated, physically assaulted the plaintiff, without
provocation or warming, causing him severe injuries. |

9, That at the time of the assault, the driver and/or attendant for the limousine,
"7 = nrevided by the-defendants*companies-had abandoned the vehicle-and-its-oceupants.~ Tote ae 7
cm mm AOL TTA a result of thie assault, Plaintiff sustained nunicrous fractiirés iit his HOsé and ~
face with residual damage in the right ocular region.
ll. Plaintiff avers that defendants should have foreseen that the occupants, could or

would, cause harm to people or property.

12. The occupants, some being under 21 years of age and others just having tured 21

years of age, were permitted and/or invited to drink alcohol to the point of intoxication,

Case 11D: 08110196]
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 22 of 68

93/03 °2009 14:42 FAX 18563848747

MARKS INS. GROUP
Mar QO3 Og Ol:4ip

doo4
James johnson 856-228-7492 p.4

14,

15,

“UI

Case [D: 08119 196]

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 23 of 68

03/03°2009 14:13 FAX 18563848747 _ MARKS INS. GROUP 005

- - .5
Mar 09 OS O1:42p james johnson 856-228-7402 p

and suffering, loss of enjoyment of life, in excess of $50,000.00, plus punitive damages,

attorney’s fees, costs of suit and for such other and further relief as this Court deems appropriate.

JAMENN. GROSS, ESQUIRE
ATTORNEY FOR PLAINTIFF,
. 4 5S CONROY

 

 

Case [D: O81 101961
 

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 24 of 68

5 006
03/03-2009 14:13 FAX 18563848747 MARKS INS. GROUP 2

- - -&6
Mar O3 O89 O1:42p james johnson 856-228-7402 p

VERIFICATION —

I, Charles Conroy verifies that the facts set forth in the foregoing Complaint are true and

correct to the best of my information, knowledge and belief.

-Tunderstand that the statements contained herein are subject to the penalties of {8 Pa. C.S.A.,

§4904 relating to unsworn falsification to authorities.

 

DATE: asp 7 /O9

 

Case ID: 081101961
Case 2:09-cv-01215-JPH Document 14. Filed 11/02/09 . Page 25 of 68

EXHIBIT “B”

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 26 of 68

 

 

EXPERT'S REPORT
OF THE
CHARLES CONROY INJURY

By:
Elizabeth A. Trendowski

September 25, 2009

Robson Forensic

Engineers, Architects, Scleatists & Fire iaves

 

 

 

 
 

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 27 of 68

 

 

 

CHARLES CONROY INJURY
EXPERT’S REPORT SEPTEMBER 25, 2009

A. INTRODUCTION

On November 26, 2006, Charles Conroy walked down Market Street, Philadelphia, PA
with two friends. He noticed a limo/bus (hereafter called ‘bus') disabled at the curb and
decided to find out if he could assist. He stepped onto the bus and asked the
passengers if they needed help. Mr. Conroy was met with vulgarities and had a cup of
liquor thrown at him. He proceeded to push a cup of beer from a table onto the floor
and left.

Five of the male passengers chased Mr. Conray and assaulted him causing severe
injuries to his face and eye.

The purpose of my investigation was to determine if the action/inaction of JBJ
Limousine created unreasonably dangerous conditions for Mr. Conroy which caused his
injuries.

B. MATERIALS AVAILABLE FOR REVIEW

Charles Conroy statement 11/6/07
Charles Conroy medical reports
Answer to plaintiff's complaint with affirmative defenses
Deposition James Brian Johnson 6/1 1/09
Deposition Charles Conroy 5/20/09
Deposition William Ervin 5/20/09
Oral transcript testimony Janene Castellucci 8/3/09
Richard Hallowell, Esq. letter to James gross 12/27/07
. Nick Ryan oral transcript testimony 8/3/09
10. Complaint 11/08
41. Investigator Report by Stephen Koerper
12, Police report 11/27/06

OONAASLY>

Cc. BACKGROUND

On November 26, 2006, Janene Castellucci’s mother hired JBJ Limousine, Inc. to take
her and her invited guests into Philadelphia to celebrate her daughter's twenty-first
birthday. The limousine arrived at the Castelucci's home around 8:00 pm on November
25, 2006 and picked up approximately twenty passengers.

Robson Forensic

Fagiauers, Architects, Scientists & Fire

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 28 of 68

 

 

 

The passengers brought a % keg of beer into the limo/bus (hereafter called “bus”) to
drink en route to Philadelphia for a birthday night celebration of bar hopping.

William Ervin was the driver of the bus that evening. He dropped his paseengers off at
the Mad River Pub on 2nd and 3rd street in Philadelphia and picked them up around
2:00 am.

The bus broke down Immediately after picking them up around the Market Street area.
Mr. Ervin called JBJ owner, James Brian Johnson and requested he bring another
vehicle to transport the passengers home.

Mr. Ervin made a call for service and then left the vicinity of the bus.

Charles Conroy was walking down the street with his two friends, Nick Sloms and Nick
Loberto. Mr. Conroy noticed the broken down bus and told his friends that he wanted to
see if the passengers on board needed any help.

Mr. Conroy testified in his deposition that he did not see a driver anywhere around the
bus and decided to board it. He walked onto the bus and asked the passengers if they
needed any help. Someone from the bus threw something at him and was told to “F___
off" the bus.

Just before leaving the bus, he pushed a paper cup with beer in it from a table and it
spilled. The male passengers began yelling and ran after Mr. Conroy and his two
friends who had been outside the bus. Mr. Lomberto testified in his deposition that the
women from the bus told them to “calm down". Mr. Stoms tried to reason with the male
passengers and also asked them to “calm down’ and was immediately punched In the
face and knocked down. He was kicked in the jaw by one of the men and that's when
Mr, Loberto stepped in front of him to stop the men from assaulting him. When Mr.
Sloms and Mr. Loberto turned to look for Mr. Conroy, he was on the ground being
punched and kicked by the assailants. Mr, Conroy's face was covered with blood.

Nick Loberto called 911 and the police arrived immediately as they were already in the
vicinity and patrolling the area. The police interviewed Nick Curiale and Jason Williams.
They were invited guests of Ms. Castalucci and were listed as suspects on the police
report, but were not arrested.

Mr. Ervin testified that he never saw Mr. Conroy enter the bus nor did he witness the
assault.

When the assault was over, he was in the replacement limousine waiting to leave.

Mr. Conroy was taken to the hospital with face and eye injuries.

Robson Forensic

Engineers, Architacts, Sclentists & Fire investigators

 

 

 

 
 

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 29 of 68

 

D. ANALYSIS

Charlies Conroy was injured when he was unnecessarily and unreasonably exposed to
the hazards of intoxicated people. The combination of hazard and exposure created
unreasonably dangerous conditions which was a cause of his injury.

On Saturday, November 25, 2006, JBJ Limousine, inc. picked up thelr customer Janene
Castalucci, who was celebrating her 21" birthday by going barhopping in Philadelphia
with twenty friends. Ms. Castaucci and her friend, Nick Ryan both stated in their oral
testimony that there was a % keg of beer to drink in paper cups. They began drinking
‘en route to barhopping that evening in the bus.

‘The New Jersey Alcohol Beverage Control (NJABC) states that passengers may not
bring alcoho! onto a limousine for their own consumption. Passengers may only
consume alcohol in a limousine that is licensed by the NJABC and then the passenger
must consurne the alcoho! that the limo provides. JBJ limousine was in violation of the
NJABC by allowing Ms. Castalucci and her friends to bring a % keg beer onto the bus
for consumption.

Mr. William Ervin was the driver of the bus that evening testified in his deposition that
that there was no alcohol on the bus that evening, even though the client, Ms.Castalucci
and Mr. Ryan stated that there was a % keg of beer on board. A reasonably attentive
driver would have noticed the 4 keg of beer in the back of the bus with twenty
passengers drinking out of paper cups. The interior bus design was open and the line
of sight from driver to passengers was clear and unobstructed.

JBU driver, Mr. Ervin recalled that the occasion was a 21" birthday celebration. Though
JBJ was transporting Ms. Castalucci who had just turned 21 years old and young
friends, the driver did not check any Identification to ensure his drinking passengers
were all of legal age to consume alcohol.

if a limousine service carries passengers under the age of 21 and minors are found to
be drinking alcohol, the limo service may be fined $ 3000.00 by the New Jersey Alcohol
Beverage Commission. Though Mr. Ervin understood the responsibility for allowing
alcohol on the bus, he failed to check the identifications. Since Ms. Castalucci just
tumed 21 years old, it is only reasonable that her friends were of similar age that
evening.

JBJ had notice that the party was going out barhopping that evening and that they were
likely to consume more alcohol when they were dropped off around the bars, since that

was their Intent, JB limo was also aware that dropping off his passengers around 9:00
pm and picking them up again at 2:00 am, meant that they would be drinking alcohol for
five more hours by the time they finished and were back on the bus.

 

'NJSA 39:4-51(a) and NJSA 33:1-12(4)

Robson Forensic

Engineers, Architects, Scientists & Fire lnvesticatars

 

 

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 30 of 68

 

 

When JBJ picked up Ms. Castalucci and her guests at 2:00 am, the bus broke down
almost immediately. JBJ had a bus of twenty passengers who had just retumed from
drinking alcohol for five hours and the JBJ driver left the vicinity of the disabled bus. His
inaction to provide reasonable care and instruction to his intoxicated passenger's while
the bus was disabled breached the hospitality Industry standards.

Once the bus became disabled, JBJ was responsible for controlling the people within
the vehicle. JBJ had a duty to maintain the safety of the passengers and of third
parties. This was the equivalent of a bar full of intoxicated patrons.

When a bar encounters a situation like this, hospitality industry best practices
are:

a. Keep intoxicated patrons from injuring themselves or others. Intervention
procedures must be applied such as monitoring patrons’ behavior and check
for signs of intoxication such as lowered inhibitions or impaired judgment.

A reasonably attentive driver would have noticed that several of the passengers were
likely intoxicated and created a hazard to themselves and to third parties. Once the JBJ
driver left the vicinity of the bus, he relinquished contro! of the environment. A private
~ carrier like JBJ transporting intoxicated persons can reasonably foresee that
passengers may not be fully capable of making rational decisions in certain situations
like the incident that occurred on November 26, 2006 at 3:15 am.

Nick Curiale was a passenger with the party and in the limo/ bus that evening and early
moming. He told the investigator, Stephen Koerper that he was definitely drunk and
only remembered a few facts surrounding what happened. He said that he was “unsure
of where the driver was or if he was even there.”

b. Don't allow intoxleated patrons out of your sight. Be sure you keep
them supervised and in a safe environment.

There were alcohol impaired passengers on board the bus that early morning at 2:00
am. They should have been monitored and in direct sight of the driver at all times once
they were back on the bus. Mr. Ervin left the vicinity of the bus to get a replacement
vehicle. He should have remained with the bus, thus ensuring the safety of the
passengers and any third party from the intoxicated passengers. Charles Conroy
walked toward the bus around 2:30 am, saw no one supervising it and walked onto It.
Without JBJ supervising the intoxicated passengers on the bus, Mr. Conroy was directly
exposed to the hazard of the intoxicated passengers.

 

2 Training for Intervention Procedures (TLPS)

Robson Forensic ‘

Engineers, Architects, Scientists & Fire lavestigators

 

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 31 of 68

 

 

c. Exercise reasonable care.

Exercising reasonable care in a bar would mean observing patrons as they were
drinking and assessing the situation continuously. While JBJ did not technically ‘serve’
the alcohol on the bus, they were in the position of exercising reasonable care once the
bus became disabled. At that point, JBJ was in a supervisory position and as such
failed to exercise reasonable care such as physically remaining on the bus or within
sight to keep drunken passengers safe from harming themselves by leaving the vicinity
and to keep third parties safe from being exposed to the drunken passengers. The
failure of JBJ driver to recognize the dangerous condition of exposing the public
to intoxicated passengers was a proximate cause of the incident. Had JBJ driver
complied with safe industry practices, Mr. Conroy would not have been injured. JBJ
failed to act in a manner expected of a reasonable person in like circumstances.

The National Safety Council created guidelines and strategies to advance safety as a
core value in businesses for preventing nonemployee accidents. 3 Applicable guidelines
were non-existent at the time of this incident. JBJ failed to provide the driver with an
operations manual, policies, and procedures of training in any way.

JBJ violated the practices of the National Safety Council by failing to properly
train Mr. Ervin in policies and procedures. This was a proximate cause of the
incident.

The failure of JBJ to comply with existing and applicable guidelines by the National
Safety Council deprived Mr. Conroy of the protection provided by those guidelines.

Limousine services are accustomed to being hired by passengers for the purpose of
drinking without driving. That is a common fact pattern. The public is entitled to more
from JBJ than to simply allow drunken passengers to continue to consume as much
alcohol as they wish and then go unsupervised. The limo service had a duty of care, to
take reasonable steps when it broke down to keep passengers safely on the bus. JBJ
failed to keep third parties safe by relinquishing control of the environment by
leaving the vicinity of the bus with intoxicated passengers on board while It was
disabled. This was a proximate cause of the incident.

JBJ had a responsibility to monitor the activities of their passengers in an effort to
prevent injuries. JBJ was responsible to provide reasonable care to their passengers
that evening and early moming and to be motivated as to prevent them from hazardous
conditions. JBJ should have been in the vicinity to prevent Mr. Conroy from entering the
bus and thus preventing the injury. JBJ failed to do so. Mr. Ervin should have taid the

_ passengers that he was calling for a back up limousine and that (they), the passengers
* would need to stay inside the bus. JBJ’s fallure to take precautions before leaving
the bus with intoxicated passengers on board was a cause of the Incident.

 

3 National Safety Council Handbook 1992

Robson Forensic

Engiavers, Architects, Scientists & Fire tevesti¢aters

 

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 32 of 68

 

 

The bus was hired for the purpose of Ms. Castalucci's 21" birthday celebration to
transport her and her friends to Philadelphia bars so they could go drinking and not
have to worry about driving home. JBJ is in the business of providing transportation
and knew the purpose of this hire. JBJ breached their duty of care owed to Mr. Conroy
by allowing the limo and its occupants to go unattended for a period of time.

it is foreseeable that if patrons have been drinking in a bar for five hours and the bar
staff then leaves the vicinity of the bar by physically walking out of the property that
something bad may happen in the bar. It is also foreseeable that if a bus full of
intoxicated passengers is unsupervised, then something bad may happen.

As early as 1992, the National Safety Council's Accident Prevention Manual for
Business and Industry 10" edition, recognized the importance of preventing
nonemployee accidents and that some businesses by their very nature have special
accident control prablems. It states “all types of transportation - not only involves
maintenance and vehicle or unit operation safety but also the safety of areas around
the vehicles..."*

The Nationa! Safety Council goes on to say that “companies can also suffer losses
caused by the public's curiosity about company items or operations, known as
“Attractive Nuisances." Examples included unattended vehicles, construction sites, and
goes on to say that firms must follow state and local ordinances and guidelines for
preventing the public from gaining access to these “Attractive Nuisances” and being
injured or killed as a result. JBJ driver teft the bus unattended with intoxicated
passengers on board. °

Mr. Conroy walked onto the vehicle curlous to know if they needed help. Mr.
Conroy was Injured as a result of being exposed to intoxicated passengers
aboard the bus. This was a proximate cause of the incident

Limousine services have a responsibility for the well being of their patrons and third
parties who may have contact with the limousine. Ta accomplish this, drivers of
limousines must monitor passenger activities for potential problems. A reasonably
attentive driver would have seen that after five hours of alcoho! consumption by some of
his passengers that they would be intoxicated. Controlling the hazards and protecting
people from injury are industry standards in the hospitality industry. JBJ driver failed to
control the hazard (intoxicated passengers) and failed to protect people from injury (Mr.
Conroy).

 

‘ National safety council accident prevention manual 1992 page 499
* National safety council accident prevention manual 1992 page 501

Robson Forensic

Eaginetrs, Architects, Scientists & Fire Investigators

 

 

 

 
 

 

~ Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 33 of 68

 

E. FINDINGS

Within the bounds of reasonable professional certainty, and subject to change if
additional information becomes available, it is my professional opinion that:

4. The failure of JBJ’s driver to recognize the dangerous condition of exposing
intoxicated passengers to the public was a proximate cause of the incident.

2. JBJ Limousine, Inc. failed to keep third parties safe by relinquishing control of the
environment and leaving the vicinity of the bus with intoxicated passengers
onboard while it was disabled. This was a proximate cause of the incident.

3. JBJ Limousine, Inc. violated the practices of the National Safety Council by
failing to properly train Mr. Ervin in policies and procedures. This was a
proximate cause of the incident.

Plagliths 4 Zundndl

Ellzabeth Trendowski
Dram Shop Expert

Robson Forensic

neers, Architects, Scleatists & Fire lnvestigaters

 

 

 

 
 

 

0617/09

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 34 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

ELIZABETH A. TRENDOWSKI
Dram Shop Expert

PROFESSIONAL EXPERIENCE

2007 to
present

2006 to
present

1999 to
2008

1993 to
present

Robson Forensic, Inc.

Connecticut Area Manager Oct. 2008-present
Associate

Provide technical investigations, analysis, reports, and testimony towards the
resolution of litigation in the areas of dram shops and liquor liability for on and off
premises liquor permittees, and issues of supervision, i.e. cases involving underage
drinking and the responsibility of parents, party hosts, schools, fraternities, ete. TIPS
or SMART certified over 200 police officers, liquor agents and security professionals
around the country. .

University of New Haven, School of Hospitality

Adjunct Professor

HR-315 is a three-credit, junior-level course in Bar and Beverage Management. This
course teaches hospitality students the mechanics of operating a successful beverage
operation whether it is in a five-star dining facility or a large sports coliseum.
Students learn how to master costs, set-up, labor and legal issues. Students also
participate in the S.M.A.R.T. trainer certification workshop where upon successful
completion they are certified S.M.A.R.T. trainers able to certify their own staff as
needed.

Servers and Managers Alcohol Responsibility Training (S.M.A.R.T. Programs)
CEO

Created national certification course in the responsible service of alcohol. This
program also includes checking identifications properly, intervention and a
certification test. To date there are over twenty-two thousand certified S.M.A.R.T.
servers and over four hundred and fifty certified S.M.A.R.T. trainers.

S.M.A.R.T. Programs is a certified alcohol server program dealing with the issues of
alcohol in the marketplace. S.M.A.R.T workshops facilitate what alcohol is, the
effects of alcohol on guests, checking IDs properly, legal issues, intervention as well
as guest relations. There is a certification test at the end of the workshop where
participants need to receive seventy-five percent correct to become certified.

The Beverage Journal

Columnist

Wrote “S.M.A.R.T. Things” for monthly hospitality industry column focusing on
liquor liability issues, staff training and current interests in the hospitality industry.

4 www.robsonforensic.com

 
 

 

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 35 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

2002 to
2005

1988 to
2005

1992 to
2002

1988 to
2001

1991 to
1996

1987 to
1988

1985 to
1987

0617/08

ELIZABETH A. TRENDOWSKI
Dram Shop Expert

Banana Dog Distributors

President/Owner

Wholesale liquor permittee / out-of-state shipper permittee. Operated a wine, spirits
and beer wholesale operation providing products to retail outlets in Connecticut.
Banana Dog closed in March 2005.

S.M.A.R.T. Bartending

Owner

S.M.A.R.T. (Servers & Managers Alcohol Responsibility Training). This is a dual
certification, 16-hour ‘hands-on’ course on mixing and preparing today’s most
popular cocktails, opening and closing duties and product knowledge. It also includes
the S.M.A.R.T. certification. To date, there have been over 15,000 bartenders who
have graduated through the program. S.M.A.R.T. Bartending was sold in 2005.

Department of the U.S. Navy M.W.R. (Morale, Welfare & Recreation)
Instructor

Taught Hospitality Courses including mixology, flash bartending and responsible
service of alcohol using T.I.P.S., S.M.A.R.T. AND C.A.R.E.

TIPS

Trainer / Master Trainer

Training for Intervention Procedures of Alcohol servers program. Health
Communications in Washington, DC developed this program in 1986. One of the
first Trainers for TIPS and one of only three independent Master Trainers in the
United States. A Master Trainer is certified to train participants to teach the T.I-P.S.
Program

Mixin’ Magazine
Columnist
Wrote “S.M.A.R.T. Things” for monthly hospitality industry column focused on

mixology and liquor liability issues.

Yankee Drummer Hotel (currently known as The Ramada Hotel), Auburn, MA
Assistant General Manager

Legal Seafoods Restaurants, Park Plaza Hotel, Boston, MA
Food and Beverage Manager

2 www. robsonforensic.com

 
 

 

 

0617/09

Case 2.09-cv-01215-JPH Document 14 Filed 11/02/09 Page 36 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire investigators

ELIZABETH A. TRENDOWSK]I
Dram Shop Expert

LICENSES, PERMITS and CERTIFICATIONS

Be a Responsible Server (B.A.R.S.), Certification, North Carolina, June 2009

Techniques of Alcohol Management (T.A.M.), Certification, 2008

Sexual Harassment Training, Certification, Connecticut, October 2008

SMART Programs President and Trainer

Toastmasters International, Advanced Toast Master (ATM) designation, 2006

Connecticut Wholesale liquor permit, 2002-2005

Connecticut (Federal) out-of-state shippers permit, 2002-2005

Private Pilot single engine land. Licensed for Visual Flight Rules (VFR) and
Instrument Flight Rules (IFR), 1991-present

Life and health insurance license, 1989-1991

Property and casualty insurance license, 1989-1991

Securities license, 1989-1991

TIPS Trainer and TIPS Master Trainer certification, 1988-2001

EDUCATION

B.S., Biology, University of Rhode Island
B.A., Education, University of Rhode Island

Coursework:
Graduate courses taken in Management, Economics and Accounting

INVITED SPEAKER

Dram Shop/Liquor Liability Seminar: Middlesex Bar Association, January 2009

Security Supervision Seminar: New England Bar & Tavern Association, January
2009

Social Host Liability Seminar: University of New Haven, November 2008

Social Host Liability Seminar: Town of Colchester CT

Dram Shop/Liquor Liability Seminar: Connecticut Defense Attorney Association,
October 2008

Women of the World Forum, Professional development for women, September 2008

New York University School of Technology - liquor liability
Keynote and motivational speaker on relieving stress before any presentation or
speech, 2007-present

Industry keynote speaker, most recent: May, 2007 Wine Educators conference, Wine

Symposium, Naugatuck Valley Community College, 2006-present

3 www. robsonforensic.com

 
 

 

0617/09

Case 2:09-cV-01215-JPH Document 14 Filed 11/02/09 Page 37 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

ELIZABETH A. TRENDOWSKI
Dram Shop Expert

Safe Alcohol Sales for Retail Industry, National Assn. Beverage Retailers (NABR)
National Convention, 2002

National conference of state liquor administrators: The importance of education for
alcohol permittees and their servers, 1993-1994

The National NightClub and Bar Conventions, 1993-2003

Dram Shoppe Associates, presented liquor liability seminars throughout Connecticut
several times a year. The seminars were open to any liquor permittee and their
staff throughout the state, 1995-2002

INSTRUCTOR

Adjunct Professor, University New Haven

Institute for Paralegal Education (IPE), Managing People Inside and Outside the
Firm, November 2008 seminar

Connecticut Police Crime Prevention Association, 1999 - 2004

PROFESSIONAL MEMBERSHIPS and AFFILIATIONS

New York Institute of Technology
School of Management, Faculty Advisory Board, 2008-present

Toastmasters International
Toastmasters International Area Governor June 2008 - present
District 53 Toastmasters Division speech contest winner 2008
Toastmasters International Club Coach.
Faculty, TLI Officers Training Institute, 2007-present
President, 2007
Vice President Membership, 2006-2007

University of New Haven Advisory boards, 2007-present
Board Committee Adjunct Professors
Board Committee Hospitality Department

Mentor for Connecticut kids in D.C.F. (The Journey House) Willimantic, CT, 2006-
present

Connecticut coalition to stop underage drinkers, 2004-present

Connecticut Restaurant Association Board of Directors, 2000-2002
CRA Education Chair person

4 www. robsonforensic.com
 

 

Case 2.00-CV-O1215-JPH Document 14 Filed 11/02/09 Page 38 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

ELIZABETH A. TRENDOWSKI
Dram Shop Expert

President: C.H.E.F. Connecticut Hospitality Educational Foundation
responsible for all Connecticut schools offering hospitality courses and
degrees. The Connecticut Schools involvement ranged from high school
to four-year college and universities. C.H.E.F. raised money for .
hospitality programs and scholarships through the Connecticut Restaurant
Association.

GRANTS

Diageo Server Training Grant, 2001-2002
Received a grant from Diageo (the world’s largest liquor supplier) to provide
S.M.A.R.T. training at no cost to all interested Connecticut liquor permittees.

Department of Transportation Grant, 1993-1994
Received a DOT grant via the Connecticut Department of Liquor Control to

provide T.LP.S. Training throughout Connecticut for all liquor permittees
wishing to participate in the certification of responsible service of alcohol.

PUBLICATIONS

Ten years of articles in the Connecticut Beverage Journal as a monthly columnist.

 

0617/09 5 www.robsonforensic.com

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 39 of 68

EXHIBIT “C”

 
~ Case 2.00-CV-OL2 1D-JP Tr Document 12 Pited TTOL/OO Page 40 Ol oo

 

INVESTIGATION OF THE CHARLES CONROY ASSAULT

s ag,

By:
LANCE WATT

SEPTEMBER 23, 2009

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

 

 

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 41 of 68

 

 

INVESTIGATION OF THE CHARLES CONROY ASSAULT

ENGINEER’S PRELIMINARY REPORT SEPTEMBER 23, 2009

1. INTRODUCTION

This assault occurred on November 26, 2006 at about 3:11 AM in the vicinity of 300 Market
Street, Philadelphia, Pennsylvania. A bus owned by JBJ Limousine Company and operated by
William Ervin had broken down. The bus had been chartered by a group of partygoers who
were awaiting arrival of a back-up vehicle. Conroy, a passerby, after entering and exiting the
bus, was chased down and assaulted by some of the partygoers.

The purpose of my investigation was to determine if bus driver William Ervin was in some
manner responsible for the assault.

2. AVAILABLE INFORMATION

1. Philadelphia Police Department Incident Investigation Report
No. 2006-06- 071684.1.

2. Complaint.

3. Answer of Defendants JBJ Limousine, Inc, t/a JBJ Limousine and JBJ
Limousine and Bus, Inc. to Plaintiffs Complaint with Affirmative Defenses.

4. Medical Records.

5. Transcript of the August 3, 2009 deposition of Nick Ryan.

6. Transcript of the May 20, 2009 deposition of William Ervin.

7. Transcript of the August 3, 2009 deposition of Janene Castellucci.
8. Transcript of the June 11, 2009 deposition of James Brian Johnson.

9. Transcript of the May 20, 2009 deposition of Charles Conroy.

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

 

 

 

 
 

Case 2:09-Cv- - ocument Filed 11/02/09 Page 42 of 68 —_

 

 

3. DESCRIPTION OF THE ASSAULT
The Police Report states:

There was a report of an assault @ 3:15 am at 300 Market Street on 11/26/06.
The Complainant was in a verbal dispute with the offenders and was struck in the
face. The Complainant was advised 34 S 11" Street.

LB! Limousine Company had been contracted to provide transportation services for a group of
about twenty partygoers who were celebrating Janene Castellucci’s 21* birthday.

Ervin dropped the partygoers off in Philadelphia so that they could go bar hopping (Ervin Page
33). At about 2:00 AM, he received a call to pick the partygoers up on 3" Street, between
Chestnut and Market Streets (Ervin Page 33). Shortly after picking up the partygoers the bus
broke down. Ervin coasted the bus to the side of the road on Market Street and turned on his
hazard lights (Ervin Page 34).

Ervin placed a call to James Brian Johnson, the owner of JBJ Limousine while he was still on the
bus, to request a back-up vehicle to transport the partygoers back to their point of origin. Ervin
testified that he got off the bus to stretch his legs along with four of the partygoers who wanted
to smoke. The balance of the partygoers remained on the bus (Ervin Page 35). Ervin also
testified that he stood outside the bus’ front door, about 3-feet away (Ervin Page 37) and that
two passersby came down the street and mouthed off to the partygoers that were outside the
bus with him (Ervin Page 38).

Ervin further testified that:

That he didn’t see a fight (Ervin Page 40).

That he didn’t see the passersby try and get on the bus (Ervin Page 42).

That Police separated two persons, one off the bus and one of the passersby and
took statements (Ervin Page 44).

That there were no cans, bottles or a beer keg on the bus (Ervin Page 46).

That the passersby went past him and he lost sight of them (Ervin Page 47).

That he stood by the bus door to make sure nobody got on the bus, and that he has to
stay with the bus at ail times (Ervin Page 48). ,

That he did not talk to the Police (Ervin Page 50) and,

That he did not make out any report (Ervin Page 51).

James Brian Johnson testified that when he got to the bus the driver was on it, there was no
ambulance, no Police, and he wasn’t questioned by the Police (johnson Page 80).

Johnson further testified that he learned about the fight from Ervin the next day (Johnson Page
81).

Robson Forensic °

Engineers, Architects, Selentists & Fire Investigators

 

 

 
 

Case 2:09-Cv-01215-JPH Document 14 Filed 11/02/09 Page 43 of 68

 

 

Jean Castellucci testified that:

There was beer on the bus (Castellucci Page 13).

That she stayed on the bus while some of the partygoers got off the bus to smoke and
others went to get some food. Also, that the fight took place outside the bus and
that she didn’t witness it, and that she remembers someone came onto the bus, said
something, and threw a beer (Castellucci Page 18).

Castellucci further testified that when the person who had entered the bus got off, that
everyone got rowdy; a couple of the passengers got off the bus and the fight broke out
(Castellucci Page 19). According to Castellucci, it took about 1% hours for the back-up
transportation to arrive. Castellucci also testified that she believed there was a little keg of
beer on the bus, and that the thrown beer hit her sister (Castellucci Pages 24, 29 & 31).
Charles Conroy testified that he was with two roommates that night (Conroy Page 40), and:

That he saw the broken down bus (Conroy Page 54).

That he didn’t see the driver (Conroy Page 54).

That the bus door was wide open (Conroy Page 54).

That he walked onto the bus (Conroy Page 55).

That there was no one standing outside the bus (Conroy Page 56).

That he walked onto the bus to see if the passengers needed some help.
(Conroy Page 56)

That he saw people on the bus as he was walking through the entrance door
(Conroy Page 56).

Conroy further testified that:

He was outgoing and social (Conroy Page 57).

That there were 10 to 15 people on the bus and that some were standing and some
were sitting (Conroy Page 57).

That he asked them what's up and how they were they doing and that he felt
completely sober (Conroy Page 58).

According to Conroy, someone told him in an aggressive manner to get off the bus, so he
turned around and started to exit the bus. He saw a table to his right with cups of beer on it, so
he flicked one over before exiting the bus (Conroy Pages 60 & 62). Conroy stated that the guy
who yelled at him was about 6-feet away and that the people were predominately crowded in
the rear of the bus. Also that there was a light on inside the bus and that he doesn’t remember
specific people who were on the bus (Conroy Pages 65 — 68).

Conroy stated that as he exited the bus, about 6 -7 males stormed off the bus and confronted
him and one of his roommates who tried to calm them down. Shortly thereafter the fight broke
out resulting Conroy being physically assaulted and suffering a broken nose and facial injuries.

Robson Forensic °

Engineers, Architects, Selentists & Fire Investigators

 

 

 

 
 

Case 2:09-Cv- - ocument 14 Filed 11/02/09 Page 44 of 68

 

 

4. ANALYSIS

Ervin’s bus was capable of seating 26 passengers and, based on this passenger capacity
combined with the fact that the charter had originated in New Jersey, the bus was operating in
Interstate Commerce and was therefore subject to the requirements of Federal Motor Carrier
Safety Regulations (FMCSR).

At the time of bus breakdown, Ervin acted properly in coasting his bus to the side of the road in
order to make sure that it did not pose a hazard for other motorists. Ervin stated that he
activated the hazard lights which was also proper, however, depending on the exact stopping
location; he may have also had a requirement within ten minutes of bringing his bus to a stop
to place additional warning devices on the roadway behind his bus. Such warning devices
would be as defined in FMCSR §393.95 (2)(i) &(ii). These devices would be placed in a specified
way depending on the situation.

Additionally, under FMCSR §396.7 (a), General — a motor vehicle shall not be operated in such a
condition as to likely cause an accident or a breakdown of the vehicle. It was subsequently
determined by Johnson that the cause of breakdown of the bus was due to battery failure
(Johnson Page 73). This is indicative that the bus was not being properly inspected and
maintained as required under FMCSR Part §396.1 & §396.3 (a) & (1).

It was reported by a partygoer that Ervin got off the bus and raised the engine compartment
hood. This was obviously in an attempt to try and determine if he could identify the cause of
the breakdown. Before doing this, Ervin should have first instructed his passengers to remain
on the bus and seated, and in order to maintain security of the bus and his passengers, Ervin
should have closed and secured the entry door behind him.

With reference to Keller’s Motorcoach Driver’s Safety Handbook in the sub section titled
“Breakdowns” it states:

Keep your passengers calm and on the coach. The coach is almost always the
safest place for your passengers in case of a breakdown.

In the sub section titled “Personal Security” it states:

It is your responsibility to be on your guard at all times and to be prepared for the
unexpected — not only to protect your passengers, but also to protect yourself. The
world of the professional driver, whether it be carrying a load of passengers to a
theme park or waiting alone in a parking lot, can be a dangerous place.

In order for Conroy to have been able to approach the bus and gain unrestrained entry,
indicates that Ervin was not stationed immediately outside of the bus’ entry door as he testified
he was, and that the passenger door was left in the fully open position.

Robson Forensic °

Engineers, Architects, Scientists & Fire investigators

 

 

 

 
 

Case 2:09-Cv-01215-JPH Document 14 Filed 11/02/09 Page 45 of 68

 

 

To ensure passenger control and safety, issues that Ervin as a professional bus driver was fully
responsible for, he should not have allowed any of his passengers to disembark from the bus to
smoke, much less allowing some of his passengers to leave the area unsupervised to seek food.

Although inappropriate, Ervin should have ensured that the partygoers that did get off the bus
to smoke were instructed to remain in a group in a safe location that was within his immediate
field of view and under his direct supervision. Again, none of the passengers should have been
permitted to leave the immediate vicinity of the bus.

The passengers that did get off the bus to smoke, if present in the vicinity of the bus’ entry door
as Ervin testified that they were, they should have been available to prevent Conroy from
gaining access the bus interior. Obviously these patrons were not located where Ervin testified
they were.

Ervin improperly maintained control over his passengers who were his responsibility and under
his direct supervision at the time of the assault.

Had Ervin been positioned immediately outside of the bus’ entrance door as he testified he
was, Conroy could have been readily prevented from entering the bus and this assault would
not have occurred.

The improper actions on the part of Ervin resulted in the assault on Conroy by some of Ervin’s
out of control passengers.

Robson Forensic °

Engineers, Architects, Scientists & Fire Investigators

 

 

 

 

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 46 of 68

 

 

5. FINDINGS

Within reasonable engineering certainty, and subject to change if additional information
becomes available, it is my professional opinion that:

1. Ervin improperly maintained control over his passengers who were his
responsibility and under his direct supervision at the time of the assault.

2. Had Ervin been positioned immediately outside of the bus’ entrance door
as he testified he was, Conroy could have been readily prevented

from entering the bus and this assault would not have occurred.

3. The improper actions on the part of Ervin resulted in the assault on Conroy
by some of Ervin’s out of control passengers.

Lance Watt

Heavy Truck and Bus Expert

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

 

 

 

 
 

 

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

LANCE WATT
Bus and Truck Expert

PROFESSIONAL EXPERIENCE

2000 to
present

1997 to
2000
1998 to
1999

1996 to
1997

1994 to
1996

1976 to
1994

07/28/09

Robson Forensic, Inc.

Associate

Provide technical investigations, analysis, reports, and testimony toward the resolution of
litigation involving buses, trucks, motor vehicle crashes, commercial vehicle fires, and
product liability cases.

Self-Employed Consultant
Provided services to the Automotive and Transit Bus Industries and expert witness services
in product litigation.

Advanced Bus Industries, L.L.C.

Vice President — Engineering & Quality Assurance

Responsible for all Engineering and Q.A. activities in the support of an existing commercial
vehicle product line, while leading the design efforts on a “from the ground up” new vehicle
development program for use in Transit and Commercial vehicle vocations.

Universal Coach Parts

Director of Engineering

Responsible for all engineering activity in support of parts sales for Flxible manufactured
transit buses and developing new parts and product lines.

The Fixible Corporation (Bus Manufacturer)

Vice President of Research & Development

Responsible for all Corporate Research and Development including whole vehicle and
vehicle component testing and evaluation, advanced vehicle design engineering, vehicle
structural analysis, liaison with state and federal government agencies, and product safety
and integrity. Advanced vehicle design engineering projects included: a low floor vehicle,
hybrid electric vehicle, alternative fuels (C.N.G., L.N.G., L.P.G., Methanol and Ethanol) and
also new low emission diesel powered vehicles with particulate traps and catalytic
converters. Other responsibilities included resolution of problems, both in-house and in the
field, vehicle fire origin and cause (O&C) investigations, vendor selection, vendor
qualifications, specifying of materials, parts, equipment and components and customer
interface.

The Fixible Corporation (Bus Manufacturer)
Director of Engineering
Responsible for product design, research and development, whole vehicle and vehicle
component testing and evaluation, product safety and integrity, vehicle structural analysis,
options engineering, bid and proposal analysis with substantial customer interface.
Responsibilities included resolution of problems, in-house and in the field, origin and cause

1 www.robsonforensic.com

 
 

 

Case SUS UlZID-IPH Document 14, Filed LlU2TUG Page a0 Ol oo

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

1967 to
1976

1966 to
1967

1963 to
1966

07/28/09

LANCE WATT
Bus and Truck Expert

(O&C) investigations, vendor selection and qualification and the specifying of materials,
parts, equipment and components.

Previous positions held were Director of Research and Development, Manager-Liaison
Engineering, Manager-Design Engineering, Manager-Special Projects, Manager-Product
Improvement Engineering and Manager Quality Assurance.

Responsibilities included research and development, advanced vehicle design engineering,
field failure analysis and problem correction, plant and customer liaison, product safety and
integrity, vendor selection and qualification, material selection, product Quality Assurance
and Control including Procedures and Standards.

Responsible for start up of a new bus manufacturing facility including site preparation,
building construction, plant layout, plant facilitation, tooling and fixture design, tooling and
fixture procurement, and the selection, specifying and justification of capital equipment.
Responsible for the initial tool try out while conducting the pilot build of the Company's new
Advanced Design Transit Bus within the new facility. Responsible for the design,
procurement, installation and pilot operation of two processing and powder coating lines, one
for aluminum extrusions and one for aluminum coil product.

Rohr Industries

Senior Project Engineer

Responsible for the design, development, prototype fabrication, test and evaluation of
components used in military and commercial aircraft, private aircraft, buses and other
passenger vehicles. Components consisted of gearboxes, power take-offs, propeller, turbine
engine parts, fuselage structures and components for aircraft, and powertrains and body parts
for vehicles. Consulted for other company divisions including problem solving and
corrective designs to solve field problems and address customer issues and concerns.

Canadian Aircraft Products

Design Engineer

Responsible for aircraft component designs, stress analysis of aircraft structures for new
designs as well as repairs and modifications to aircraft structures and their components.
Structural testing of aircraft structures and components to validate designs and analytical
predictions.

Several Canadian and Australian Companies

Design Engineer

Responsible for a variety of engineering and engineering design functions including stress
analysis, product design, product development and the testing of components and equipment
related to Automotive, Aircraft and Pulp and Paper Industries.

2 www.robsonforensic.com
 

"te age 40 O —

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

LANCE WATT
Bus and Truck Expert

PROFESSIONAL CREDENTIALS

Medium and Heavy Truck Technician — ASE Certified

Truck Equipment Installation and Repair — ASE Certified

Medium and Heavy Truck Parts Specialist - ASE Certified

Certified Inspection Mechanic, Type 7, Commonwealth of Pennsylvania

EDUCATION

Co-Operative - Education/Industry, Trades Course Program, 1958-1962
Equivalent to BSME degree

Sydney Technical College, Trades Course Certificate, 1962

Sydney Technical College, Trades Course Preparatory Certificate, 1957

Continuing Education:
Hazardous Materials First Responder Awareness — April 2008,
National Board on Fire Service Professional Qualifications, agency accredited
Emergency Response to Railroad Incidents — 2007
Farm Confined Space Emergencies — 2007
Farm Emergencies — 2007
Managing Machinery Entanglements — 2007
Managing Tractor Overturns — 2007
Managing Farm Chemical Emergencies — 2007
Aircraft Rescue Firefighting For Structural Firefighters — 2007
HazMat Cargo Tank Truck Awareness — 2007
SAE — Heavy Truck Handling, Dynamics & Control Symposium ~ 2005
SAE — Heavy Truck Rollover and Collision Avoidance TOPTEC — 2003
SAE — Motor Vehicle Accident Reconstruction — 2002
NYSTARS — Annual Joint Conference - Investigating Bus & Train Collisions — 2 001
SAE — Natural Gas Engine & Vehicle Technology TOPTEC — 1995
Grumman Allied Industries, Inc. - Managing for Productivity — 1980
Center for Professional Advancement - Powder Coating — 1976
Vancouver College - Work Study 1 — 1966

AFFILIATIONS

07/28/09

National Research Council — Transportation Research Board
e Committee on Transit Fleet Maintenance (A3C02)
e Transit Co-operative Research Projects Advisory Committees

3 www.robsonforensic.com
 

Engineers, Architects, Scientists & Fire Investigators

LANCE WATT
Bus and Truck Expert

American Public Transit Association

e Driveline Committee

e Alternate Fuels Committee

e Americans with Disabilities Act Advisory Committee

Federal Transit Administration

e Technology Advisory Committee

e Technology Development Committee

e Wheel Chair Accessibility Specification Committee

Society of Automotive Engineers (Member)
e Various Advisory and Standards Development Committees

e Bus Engineering & Operations Committee

Pennsylvania Association of Arson Investigators (PAAI) 751-E

07/28/09 4 www.robsonforensic.com
ee a Sam TT OOS eT ron .

Robson Forensic

Engineers, Architects, Scientists & Fire investigators

LANCE WATT
Bus and Truck Expert

SHIPPING MATERIALS ON TRUCKS
Within positions at Flxible, responsible for determining methods of handling, packaging and
shipping of materials, parts and assemblies on Company trucks between plants and also on
Common Carrier trucks Nationally.

This activity included weight placement and securement methods on Company owned trucks and
the design of shipping and handling aids for both Company and Common Carrier trucks.

TRUCKS AND TRAILERS
Owned, operated and maintained different types of Light, Medium and Heavy trucks. These
vehicles ranged from Pick-up trucks, Straight trucks of different types (Flatbeds, Box and Dumps)
over a period of about 35 years and Tractor-Trailer combinations for about 27 years.

Owned large (30-foot and longer) 5'" Wheel and Recreational Pull Trailers for about 25 years.

Driver Qualifications:
Hold a Class "A" CDL (Tractor-Trailer Combinations) with endorsements for:
e Air Brakes * Tanker Vehicles
¢ Double and Triple trailer combinations. * Hazardous Materials

e Commercial Passenger Vehicles (All types except School Bus).

Light Truck Equipment:
Consulted for another Company that manufactured Light Truck Dock Bumpers that doubled as
Trailer Hitches (Class 1 through Class IV). Performed product design and analysis and conducted
physical certification testing of their products to meet regulatory requirements and to qualify the
products to OEM and Aftermarket Customer requirements.

Motor Racing:
Involved with a FORD Motor Racing Division Team (Stock Cars) as Vehicle Engineer/Designer
and performed Crew Chief and Pit Crew Details from1968 to 1971.

Worked on Midgets and have conducted Pre-Race Inspections on most types of Racecars for Rule
Compliance.

Vehicle Maintenance:

Built/re-built and worked on every kind of vehicle from Race cars to Heavy Trucks plus all
associated systems, parts and components for those vehicles.

07/28/09 5 www.robsonforensic.com

 
 

 

 

Case 2.00-cV-O1215-JPH Document 14 Filed 11/02/09 Page 52 of 68

Engineers, Architects, Scientists & Fire Investigators

LANCE WATT
Bus and Truck Expert

TRUCK EXPERTISE

Experience in vehicle design includes the selection, integration, evaluation and testing of components
and systems into buses, coupled with ownership, operation and maintenance of trucks up to and
including Class 8 tractor trailer combinations.

Heavy truck and large bus components and on-board systems designs, operation and maintenance
including:

Steering Systems.

Brake Systems.

Diesel Engines.

Transmissions (Manual and Automatic).

Steer and Drive Axles.

Tag and Pusher Axles (Self-Steer and Air Dump).

Air Suspension Systems.

Leaf Spring Suspension Systems.

Wheels (Hub and Stud Piloted, One, Two and Three Piece).

Wheel Hubs (Disc and Spoke Wheels, Oil and Grease lubricated bearings).
Tires (Bias and Radial, Tube Type and Tubeless).

Exhaust Systems and After Treatment Devices.

Diesel and Alternate Fuel Systems.

Air operated Windshield Wiper and Washer Systems.

Driver's Heater and Windshield Defroster Systems.

Air Suspension Driver's Seats.

Electrical System (Charging and Distribution).

Handling and operating characteristics of tractor-trailer combinations, straight trucks and buses.

eeseve0ee2f88088808800 0 6 @

TOWING AND RECOVERY -— HEAVY VEHICLES

Designed Special Tow and Recovery Equipment and Adapters.

Developed Tow and Recovery Procedures.

Supervised Tow and Recovery Activities.

Supervised Loading and Securement of Vehicles for Transport.

Supervised Cargo Loading, Placement, and Securement during Recovery Operations.

07/28/09 6 www. robsonforensic.com
 

 

 

Case ETT PUCU Ment a Ped 1 UciUe Page Do Ol Oo

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

LANCE WATT
Bus and Truck Expert

SPECIFIC WHEELCHAIR LIFT AND SECUREMENT SYSTEM EXPERIENCE

07/28/09

Worked with the Architectural Barriers Board, the Urban Mass Transit Administration (UMTA),
researchers, federal and state regulators and industry representatives on a committee charged with
developing specifications and requirements for transit bus wheelchair lifts, wheelchair ramps, and
wheelchair securement systems. This committee work resulted in the initial Americans with
Disabilities Act (ADA) pertaining to transit buses.

Worked with the Cleveland Clinic on various contracts aimed at developing advanced wheelchair
passenger securement systems and the testing of those systems.

Worked with groups involving vehicle manufacturers, wheelchair and mobility product
manufacturers, manufacturers of mobility and securement devices, and federal and state government
regulators to ensure compatibility between vehicles, the various types of mobility aid products, the
various types of mobility aid securement systems, and related devices and the use thereof.

Assisted three wheelchair lift manufacturers with the development, qualification testing, and
regulatory compliance of their products.

Worked with the California Highway Patrol on development of performance standards and test
procedures for wheelchair lifts. This work was in response to various incidents in California that
resulted in serious injuries and death to wheelchair users while using wheelchair lifts on transit
buses.

My employees, during my tenure with Flxible, designed, developed, tested, qualified, and certified a

wheelchair lift and its related control systems for use in our own vehicles and which could also be
readily adapted or retrofitted into vehicles manufactured by others.

7 www.robsonforensic.com

 
 

 

0617/09

Case 2 00-cV-U1215-JPH Document 14 Filed 11/02/09 Page 54 of 68

Robson Forensic

Engineers, Architects, Scientists & Fire Investigators

ELIZABETH A. TRENDOWSKI
Dram Shop Expert

PROFESSIONAL EXPERIENCE

2007 to
present

2006 to
present

1999 to
2008

1993 to
present

Robson Forensic, Inc.

Connecticut Area Manager Oct. 2008-present
Associate

Provide technical investigations, analysis, reports, and testimony towards the
resolution of litigation in the areas of dram shops and liquor liability for on and off
premises liquor permittees, and issues of supervision, i.e. cases involving underage
drinking and the responsibility of parents, party hosts, schools, fraternities, etc. TIPS
or SMART certified over 200 police officers, liquor agents and security professionals
around the country.

University of New Haven, School of Hospitality

Adjunct Professor

HR-315 is a three-credit, junior-level course in Bar and Beverage Management. This
course teaches hospitality students the mechanics of operating a successful beverage
operation whether it is in a five-star dining facility or a large sports coliseum.
Students learn how to master costs, set-up, labor and legal issues. Students also
participate in the S.M.A.R.T. trainer certification workshop where upon successful
completion they are certified S.M.A.R.T. trainers able to certify their own staff as
needed.

Servers and Managers Alcohol Responsibility Training (S.M.A.R.T. Programs)
CEO

Created national certification course in the responsible service of alcohol. This
program also includes checking identifications properly, intervention and a
certification test. To date there are over twenty-two thousand certified S.M.A.R.T.
servers and over four hundred and fifty certified S.M.A.R.T. trainers.

S.M.A.R.T. Programs is a certified alcohol server program dealing with the issues of
alcohol in the marketplace. S.M.A.R.T workshops facilitate what alcohol is, the
effects of alcohol on guests, checking IDs properly, legal issues, intervention as well
as guest relations. There is a certification test at the end of the workshop where
participants need to receive seventy-five percent correct to become certified.

The Beverage Journal

Columnist

Wrote “S.M.A.R.T. Things” for monthly hospitality industry column focusing on
liquor liability issues, staff training and current interests in the hospitality industry.

1 www.robsonforensic.com
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 55 of 68

EXHIBIT “D”
Training for InterventignProgedareS1215-JPH Document 14 Filed 11/02/09 Page 56 of 68

 

Login to access your
Personal Training Portal

Home

   

i
Learn More
Get Training

TIPS for the
University

Register

Cc U

0 2005 Health Communications, Inc. All rights reserved Terms and Conditions Privacy/Policy Site Map Industry Links Contact Us Login Instructions

 
  

usemame or email address

password

Click if you forgot your password

Leading The Way in Responsible Alcohol
Service Training For Over 20 Years...
TIPS (Training for Intervention ProcedureS) is the global leader in education and training for the responsible

service, sale, and consumption of alcohol. Proven effective by third-party studies, TIPS is a skills-based
training program that is designed to prevent intoxication, underage drinking, and drunk driving.

 

 

Get TIPS Certified
To become TIPS Certified, you
must attend a training session or take an
online course.

 

TIPS

 

Become a TIPS Trainer
To certify as a trainer, you must
successfully complete a two-day
workshop.

More.

 

 

 

 

 

Health Communications, inc. : 1101 Wilson Boulevard : Suite 1700 : Arlington, VA 22209 : 1-806-GET-TIPS

http://gettips.com/

 

Page 1 of 1

    

Tennessee has
approved TIPS as
a provider for their
voluntary
Responsible
Vendor Program
for off-premise
beer
establishments.

Nevada has
approved TIPS as
a provider... More.

Utah has approved
eTIPS for
certification...
More.

 

TIPS certification
offered to
LaCrosse, WI
community... more

Click here for
Press Releases

Click here for
Testimonials

11/2/2009

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 57 of 68

EXHIBIT “E”
   

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 58 of 68
JANENE CASTELLUCCI

 

 

UNITED STATES DISTRICT COURT
for the

CHARLES CONROY, : CIVIL ACTION NO:

09-1215
Plaintiff,

-V-

JBJ LIMO, INC., et
al.,

Defendant.

Monday, August 3, 2009

ORAL TESTIMONY of JANENE CASTELLUCCI, taken
pursuant to notice, held at the law offices of DOUG
BAKER, 236 Pine Valley Lane, Sewell, New Jersey 08080,
commencing at 10:05 a.m., before Jean M. Walker, Court

Reporter - Notary Public there being present:

STREHLOW & ASSOCIATES ;
FULL SERVICE COURT REPORTING AGENCY
258 SOUTH STATE STREET
1ST FLOOR, REAR BUILDING
NEWTOWN, PENNSYLVANIA 18940

(215) 504-4622

SERVING NJ, PA, NY & DE

WWW. STREHLOWCOURTREPORTING. COM

 

 

SRA SON RR ICR ADR

 

STREHLOW & ASSOCIATES, INC.
(215) 504-4622

Page 1 |

    

SS NSE HNN BT NF ST SC ESE
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 59 of 68
JANENE CASTELLUCCI

 

 

 

Page 2 Page 4
3; APPEARANCES: 1 (It is agreed by and between
LAW OFFICES OF JAMES N. GROSS 2 counsel that the reading, signing,
3 BY: JAMES! N. GROSS, ESQUIRE 3 sealing, filing, and certification are
1616 Walnut Street, Suite 1110 : «aati
4 Philadelphia, Pennsylvania 19103 4 hereby waived and all objections, except
(215) 670-9926 5 as to the form of the questions, are
° _ 6 reserved until the time of trial.)
Representing the Plaintiff 7
6 ---
7 8 JANENE CASTELLUCCI after having
9 RNEWBY UP SIMPSON, STAPLETON, FIRES 9 been duly sworn, was examined and
BY: ROBERT D. MacMAHON, ESQUIRE 10 testified as follows:
9 2000 Market Street, Suite 1300 11
Philadelphia, Pennsylvania 19103 .
Lo (015)973-1935 12 MR. MacMAHON: You know what, it
3 Representing the Defendant 13 just occurred to me that because, I'm
13 LAW OFFICES OF DOUG BAKER 14 sorry, Nick, right?
BY: DOUG BAKER, ESQUIRE 15 MR. RYAN: Yes.
i4 Soul New Fesey 08080 16 MR. MacMAHON: Technically, I
15 (856) 464-2511 17 don't think you can be here because
16 Representing Janene Castellucci 18 they're both fact witnesses and they
17 and Nick Ryan 19 should be sequestered. No offense, Nick.
18 20 It's just that you're both fact witnesses
bo 21 and the implication is that you have to
21 22 give your testimony based on your own
*e 23 memory. In other words, the implication
24 24 is if you hear what she's going to say it
Page 3 Page 5},
1 1 could somehow subconsciously affect your
2 INDEX 2 testimony and what you remember. So J ask
3 3 that they be sequestered.
4 4 MR. BAKER: IfI put them in the
5 WITNESS PAGE 5 living room to watch TV, is that
JANENE CASTELLUCCI 6 satisfactory?
6 (Witness sworn.) 7 MR. MacMAHON: Yes. That's
7 Oe MR Ros ON ; 8 fine. The point is, you're not supposed
8 , 9 to hear what she's going to say.
9 10 MR. RYAN: That's fine.
CROSS-EXAMINATION 11 MR. BAKER: You should be ina
iy BY: MR. MacMAHON 24 12 vacuum so to speak. J know that's not a
REDIRECT EXAMINATION 13 legal term.
2 BY: MR. GROSS 33 14 (At this time, Nick Ryan left
RECROSS EXAMINATION 15 the room.)
14 BY: MR. MacMAHON 34 16 77
15 17 DIRECT EXAMINATION
16 18 ee
17 MR
19 20 Q. Janene, good morning.
20 NO. DESCRIPTION PAGE 21 A. Good morning.
- Whereupon, no Exhibits have been marked. ; ; Q. Thank you for showing up. We appreciate
23 it.

   

STREHLOW & ASSOCIATES,
504-4622

(215)

 

A. You're welcome.

     

RUSLANA RENNER

2 (Pages 2 to 5)
INC.

 
pos

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 60 of 68
JANENE CASTELLUCCI

 

 

 

Page 6 Page 8
1 Q. My name is Jim Gross. 1 with her Master's in education.
2 A. Okay. 2 MR. GROSS: Master's? That's
3 Q. And Mr. Baker may have alerted you, I 3 wonderful.
4 represent the plaintiff in an action against JBJ 4 MR. BAKER: They're not as easy
5 Limousine Company. 5 to come by as you would think.
6 A. Okay. 6 THE WITNESS: Not today.
7 Q. It has nothing to do with you personally. 7 BY MR. GROSS:
8 It won't have anything to do with you personally. 8 Q. What level, elementary?
9 It's about the events that took place on a 9 A. Ihave a duel major, elementary and
10 particular evening. And it's a personal injury 10 special ed.
11 action involving my client and so I'm just searching {11 Q. And where did you get your degree from?
12 for information, and what you recollect happened {12 A. Widener University.
13 that evening, and who was with you, et cetera, and {13 Q. That's great. Well, I hope you find
14 those types of facts. 14 something.
15 A. Okay. 15 A. Thank you. I hope so too.
16 Q. Mr. Baker already alerted you about the 16 Q. I'm sure you will.
17 purpose of this, it's not a deposition, we're just 17 MR. BAKER: You have an
18 searching for the information. It's different than 18 interview this afternoon, don't you?
19 a deposition because you're not a party to this, et 19 THE WITNESS: Um-hum.
20 cetera. But if at any time you're uncomfortable 20 MR. BAKER: She was supposed to
21 with anything, you just need to tell me that or tell 21 have an interview at ten today but I said,
22 Mr. Baker. It's not a problem. 22 no, it's too much of a hassle to switch
23 A. Okay. 23 everything around so she switched the
24 Q. If you have a question, a problem, you 24 interview just for you guys.
Page 7 Page 9
1 make it known. 1 MR. GROSS. That's very nice.
2 A. Okay. 2 Thank you.
3 Q. Don't guess about anything. If you don't 3 THE WITNESS: Yeah.
4 remember you just tell us that, whatever you know, 4 MR. GROSS: Good luck.
5 and just the facts of that evening, if you recall. 5 BY MR. GROSS:
6 A. Okay. 6 Q. So I'd like to take you back to the date
7 Q. All right? 7 of November 26, 2006. It was a night involving the
8 A. Yes. 8 rental of a bus, actually, from JBJ Limousines. And
9 Q. So with that being said, Janene, can you 9 can you tell me what event precipitated, or gave
10 give us your date of birth? 10 rise to renting the limo, or renting the bus, I
11 OA, 11/21/1985. 11 should say?
12 Q. And your current address is? 12 A. It was my 21st birthday so instead of
13 A. 219 Tall Pines Drive, Sewell, New Jersey 13 driving --
14 08080. 14 Q. Right.
15 MR. MacMAHON: Can you give me 15 A. -- to the bar, my mom ordered us a bus.
16 the street? I didn't hear it. 16 Q. All right. And had you ever used their
17 THE WITNESS: Tall Pines, two 17 service before?
18 separate words. 18 A. Yes, we have.
19 MR. MacMAHON: Okay. Thank you. |19 Q. In what type of --
20 BY MR. GROSS: 20 A. I, personally, didn't order it but for my
21 Q. And are you employed right now? 21 sister's bachelorette, occasions like that, we may
22 A. No, not currently. I'm looking for a job. 22 have used JBJ.
23 Q. Well, good luck with that. 23 Q. All right. You had been on their -- you
24 24 had been on their bus or limos before?

  

 

STREHLOW & ASSOCIATES,
504-4622

(215)

 

MR. BAKER: She just | aduated

  

 

 

3 (Pages 6 to 9)
INC.
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 61 of 68
JANENE CASTELLUCCI

 

  
    
 
 
  
    
    
 
  
  
 

 

 

    

  

STREHLOW & ASSOCIATES,

(215)

 

Page 10 Page 12
1 A. I'm pretty sure. I'm not positive. 1 other girls honestly. I can't remember who on my
2 Q. It's all right. I'm not holding you to 2 __ birthday this year came out.
3 anything. It's quite all right. So your 21st 3 Q. Okay. Any other friends that you recall,
4 birthday was the 21st; is that correct? 4 male friends?
5 A. Yes. It was a Tuesday, I believe, that 5 A. I'm not 100 percent sure so I don't want
6 year. 6  togiveaname. You know, if I'm really not
7 Q. And so JBJ sent over a bus that evening? 7 100 percent sure so I don't want to give a name if
8 A. Um-hum. 8 they weren't there.
9 Q. And if I could ask, who were you with that 9 Q. Okay.
10 night; do you recall? 10 =A, If I'm guessing -- like I said, I don't
11 A. Friends, family, friends of friends. 11 want to guess, right?
12 Right. So friends of friends, friends, 12 Q. ~~ Right. Okay.
13 and family? Can you give us some of the names of |13 A. Nick.
14 people that were there that night? Again, it 14 Q. Nick Ryan?
15 doesn't involve them directly. 15 MR. MacMahon: The token
16 A. My sister, my sister's boyfriend. 16 Irishman?
17 Q. Can you give us the relationship and the 17 THE WITNESS: Hm?
18 names? In other words, your sister and her name? {18 THE MacMahon: The token
19 A. My sister, Tara Castellucci and her 19 Irishman?
20 boyfriend, Dave Maryles. 20 MR. BAKER: Yeah. He's the
21 Q. Maryles? 21 token Irishman.
22 A. Um-hum. 22 MR. MacMAHON: We have Cacciola,
23 MR. MacMAHON: How do you spell {23 Mantici, Crocetto, Castelluci. Nick, they
24 that? 24 let you in?
Page lil Page 13},
1 THE WITNESS: M-A-R-Y-L-E-S. 1 THE WITNESS: Some people I'm
2 BY MR. GROSS: 2 not even that close with anymore that came
3 Q. And any other family members? 3 out. Like, the girl I remember, Danielle
4 A. My cousin Louis. 4 Munyon was there.
5 Q. Louis? And what is Louis's first name if 5 BY MR. GROSS:
6 I can ask? 6 Q. Munyon? Can you spell the name?
7 A. Louis. You mean last name? 7 A, M-U-N-Y-O-N. But I don't even speak with
8 Q. I'm sorry. Last name. 8 her anymore.
9 OA. Cacciola. 9 §6Q. That's okay. That's all right.
10 Q. Can you spell that? 10 MR. BAKER: This was almost,
11 OA. C-A-C-C-I-O-L-A. 11 what?
12 Q. And what about some of your friends? Can [12 THE WITNESS: Three years ago.
13 you tell us, again, some of your friends that were 13 MR. GROSS: I know. It's hard.
14 present that night? 14 THE WITNESS: It's tough. I'm
15 A. I, honestly, I was trying to think of -- 15 not really positive. I'm sorry.
16 I'm not 100 percent on all of them. 16 BY MR. GROSS:
17 Q. That's all right. 17 Q. It's okay. Any other boys that you
18 A. But I know a few girlfriends I can name. 18 recall? Any other men?
19 Q. That's fine? 19 A. No.
20 A. Eileen Mantici, M-A-N-T-I-C-L, Brittany, 20 Q. Okay. Was there any beer or liquor that
21 these are my two roommates from college, Crocetto, {21 was brought onto the bus that you remember?
22 C-R-O-C-E-T-T-O. 22 A. Yes.
23 Q. Any high school friends? 23 Q. Okay. And again, as far as the liquor or
A. Yeah. Eileen was. I can! an't remember any 24 beer that was brou, t on the bus - --

 

 

   
  
   
     
  
     

4 (Pages 10 to 13)
INC.

504-4622
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 62 of 68
JANENE CASTELLUCCI

 

  

 

 

fo ~

 

 

Page 14 Page 16 ;
1 A. Um-hum. 1 Q. Sure.
2 Q. -- do you know who supplied it? 2 A. Yeah. It's like, a strip of bars. I :
3 A. No. 3 think we just -- everybody got split up. We just
4 Q. Okay. Do you remember the driver? 4 barhopped. :
5 A. No. 5 Q. Right. Do you remember the number ofthe
6 Q. Do you remember if the driver -- you don't 6 street? :
7 remember his facial features? Do you remember there | 7 A. No.
8 being a driver there? 8 Q. Fourth Street, Third Street? i
9 A. I remember there was a driver but I don't 9 A. I don't remember. |
10 remember what he looks like, any features. 10 Q. Can you tell me a little bit what you i
11 Q. All right. Do you remember if there was 11 remember about the bus itself? In other words, how :
12 anything asked by the driver about anybody's 12 it was set up. :
13 _ ability, their ages, or whether they could drink or 13 A. What do you mean how set up? The seating?
14 not? 14 Q. Well, yeah, like the seating. Was there
15 A. Not that I recall. No, I don't remember. 15 - ;
160 QQ. Okay. And I, excuse me for forgetting, 16 A. I think it was leather couches all around. :
17 did you say people brought the liquor on the bus, 17 I'm pretty sure.
18 not anybody in particular, or did the bus or van 18 Q. Okay. Do you remember whether there were
19 have liquor on it? 19 any tables?
20 A. No, we brought it on. 20 A. I don't think there were tables. Not that
21 Q. You brought it on? Okay. So how many 21 Iremember. I don't know.
22 people do you think, just roughly, that you can 22 Q Was there a refrigerator, if you recall?
23 recall, were part of the group? 23 A. I don't remember.
24 A. Maybe like, 15. I'm estimating. 24 Q Do you recall how many entrances or exits
Page 15 Page 17}
1 Q. Allright. Were there friends of friends? 1 there were to the bus?
2 A. Um-hum. 2 A. I just know we used the main one. I'm not
3 Q. Have you met these people, these friends 3 sure if there were other ones.
4 of friends, do you recall that? 4 Q. Do you recall, approximately, what time
5 A. That night? 5 the bus would have picked you up that evening?
6 Q. Prior to that evening? 6 A. I don't remember. Maybe, I'm estimating q
7 A. I'm not sure. 7 again, maybe 8 o'clock, 9 o'clock. I'm really not
8 Q. Okay. 8 sure though.
9 A. Because, you know, girlfriends' boyfriends 9 Q. You said the group split up --
10 maybe, they were dating at the time. 10 A. Yes.
11 Q. Sure. 11 Q. -- at some point?
12 A. New faces that I've never met. 12 A.  Um-hum.
13 Q. Okay. And do you recall who set up the 13 Q. Did the bus stay -- did it leave you in i
14 evening as to where to go, which places to go? 14 one particular spot and then pick you up again or :
15 A. I think I did, maybe. I think we just 15 what do you remember? ,
16 said we would go to Old City. 16 A. It dropped us off at, I think Mad River. :
17 O. Are you familiar with Old City? 17 I'm not positive. I think that was the first bar it i
18 A. Yeah. 18 dropped us off at and then picked us up again at the :
19 Q. Were there a couple bars there in 19 end of the night but I don't know where. Wherever |,
20 particular that you recall going to? 20 we ended up. I'm not sure.
21 A. I know we went to Mad River but I don't 21 Q. Now, from the point that you ended up, do
22 remember the names of other bars we went to. 22 you recall that there was an incident involving a
23 Q. Were they all on a particular street? 23 fight of certain people from outside the bus with |
A. __ Have you ever been to Old City? . 24 ple inside the bus?

STREHLOW & ASSOCIATES,
504-4622

(215)

 

 

5 (Pages 14 to 17)
INC.
eos

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 63 of 68
JANENE CASTELLUCCI

 

Page 18

  
 
 
   
   
   
  
  
  
  
  
   
  
  
  
 

Page 20

 

 

1 MR. MacMAHON: Objection to the 1 remember they asked for all the guys to check their
2 form. You can answer. 2 hands. And the girls were -- I don't know where we
3 THE WITNESS: I remember the bus 3 were. I don't remember. But J remember they
4 broke down and we were on the side of the 4 checked all the guys to check to see if they were
5 road. We were all sitting there, you 5 involved.
6 know, getting pretty restless. People 6 Q. Do you recall, while on the bus waiting
7 were leaving to go smoke a cigarette. 7 for new transportation to come, do you recall if
8 People were leaving to go get food. I 8 there was any drinking going on?
9 stayed on the bus. 9 A, I don't think so.
10 BY MR. GROSS: 10 Q. If there had been drinking going on while
11 Q. Okay. 11 you were leaving New Jersey to go to Philadelphia,
12 A. Because we were waiting. They said they 12 can you tell me what, if anything, what type of
13 had called for another bus to come get us. We were {13 beverage --
14 there for a while. And then the fight took place 14 A. Beer.
15 outside but I, personally, didn't witness it. 15 Q. -- was ingested?
16 Q. You were on the bus at the time? And did 16 MR. MacMAHON: I object to the
17 you see anybody enter the bus at any point that was {17 form. Go ahead.
18 not part of your group? 18 THE WITNESS: Beer. I mean, a
19 OA, Yes. 19 friend may have bought me a bottle for my
20 Q. And do you recall what, if anything, this 20 birthday, a bottle of liquor, but I don't
21 person did or these people did? 21 really remember drinking that.
22 A. I just remember he came onto the bus, said = [22 BY MR. GROSS:
23 something, I don't know what he said, and then he,I {23 Q. Okay.
24 remember, threw a beer. 24 A. — Ijust remember beer. :
Page 19 Page 21
1 Q. Okay. 1 Q. Okay. You do remember being in Mad River
2 A. And then that's when, I guess, when 2 in particular?
3 everybody got rowdy. Then he left and a couple 3 A. Um-hum.
4 people got off the bus but I don't remember who. 4 Q. Do you remember being in Mad River with
5 And then, I guess, that's when the fight happened. 5 some of the people that you just mentioned, as those
6 Q. So how long was it until you then moved 6 you remember, as you were able to tell us, were part
7 from that bus to another vehicle, approximately? 7 of your party that night, the names you just
8 A. Maybe an hour and a half. I don't really 8 mentioned?
9 remember. It was a good amount of time. 9 A. Were they with me?
10 Q. And how soon after the -- I know you 10 Q. In Mad River?
11 didn't witness it -- 11 A, Yeah, I think so. I think I remember
12 A. Um-hum. 12 everybody went in to Mad River.
13 Q. -- but do you remember people talking 13 Q. Do you recall the other bar that people
14 about the fight at all? 14 may have gone to?
15 A. It was a lot of commotion because I know 15 A. No. There are so many bars. Like I said,
16 that the cops came and they were checking all the 16 people got split up and I don't know where people
17 people that were there. I don't remember. 17 went.
18 Q. Okay. You mentioned that the police or 18 Q. And where was the designated -- after
19 the cops checked people that were there. What do 19 going from one bar to another, where was the
20 you mean when you refer to, when you say, checking {20 designated spot people were to meet at? Was there a
21 people that were there? 21 designated spot?
22 A. Well, they came after and, I think, they 22 A, I'm pretty sure but I don't remember, like
23 made all the guys line up that were there. There I said, I don't remember where we got picked up.

aN?

SRSA FASE

STREHLOW & ASSOCIATES,
504-4622

(215)

 

may have been other people. I'm not sure. I just .

  
  
 
   
  
  
   
  
  
  
  
   
  
  
  
 
     
     

6 (Pages 18 to 21)

INC.

 
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 64 of 68
JANENE CASTELLUCCI

 

    
  
  
  
  
 

 

 

rN
g) os

  

taking you from bar to bar?

STREHLOW & ASSOCIATES,
504-4622

(215)

 

 

Page 22 Page 24
1 A. It wasn't Mad River. 1 A. No, we walked. |
2 Q. Did JBJ, when the new transportation came, 2 Q. Okay. I think you said in response to :
3 did you have any contact with the person that was 3 Attorney Gross's questions that you do remember that |
4 there helping to transport the people over to the 4 there was some type of liquor on the bus --
5 new bus? 5 A. Um-hum.
6 A. Idon't remember. You mean somebody from | 6 Q. -- on the way there? 4
7 JBI? 7 A. Um-hum. !
8 Q. Yes. 8 Q. Is that ayes? ;
9 A. I don't remember. 9 OA. Yes. I'm sorry.
10 Q. Are you familiar with the owner of JBJ? 10 Q. You have to give us an answer because it's
11 A. No. 11 hard to record um-hum.
12 Q. Do you know where JBJ is in relation to 12 A. Yes.
13 this neighborhood? 13 Q. Do you, specifically, recall what type of
14 A. Do I know where they're located? 14 alcohol this was?
15 Q. Do you know where the location is? 15 A. Beer.
16 A. I think, kind of, maybe, I'm not sure. 16 Q. Okay. Do you know what type of beer?
17 Q. Have you ever been there? Have you been 17 A. I think we had a keg like, a little one.
18 to the location? 18 Q. What do you mean by, little one?
19 A. I think I know where it's at. 19 OA. What's the smallest size? A quarter keg?
20 Q. Yes? 20 I'm pretty sure. I'm not positive like I said, but
21 A. Near the Deptford Mall, maybe. I think I 21 I know we didn't have 30 packs on there.
22 may have passed it and seen the limos outside but 22 Q. So you didn't have bottles or cans?
23 I've never been there, personally. 23 A, No. No. We had cups; plastic, red cups,
24 MR. GROSS: Okay. That's all I 24 I think. No, there was no bottles. :
Page 23 Page 25 :
1 have. 1 Q. No bottles or cans?
2 MR. MacMAHON: I have a couple 2 A. (Non-verbal response.)
3 follow-ups, Janene. 3 Q. That's a no?
4 --- 4 A. No.
5 CROSS-EXAMINATION 5 Q. And do you know who brought the beer on
6 wee 6 the bus?
7 BY MR. MacMAHON: 7 A. No.
8 Q Again, I'm Rob MacMahon. I represent JBJ. | 8 Q. It didn't come from the bus driver,
9 A. Okay. 9 correct?
10 Q. The defendant in this case. 10 A. No.
11 A Okay. il Q. Did you discuss with the bus driver before
12 Q You said you recall that the bus driver 12 the trip began that someone would be drinking beer?
13 with the bus dropped all of you off at one location. {13 A. I think we asked prior because we wouldn't
14 You think it was Mad River? 14 —_ just bring it on.
15 A, Yes. 15 Q. Do you know if it was you that asked?
16 Q. And then you guys did your barhopping the [16 A. No, I don't remember.
17 rest of the night -- 17 Q. Do you know what was asked?
18 A. Um-hum. 18 A. I don't remember. Maybe, just are we
19 Q. -- and then the bus picked you all up at 19 allowed alcohol on the bus.
20 the end of the night? 20 Q. Were you part of that actual conversation
21 A. Yes. We didn't see him until the end of 21 with the driver?
22 __ the night. 22 A. No.
23 Q. Okay. So in other words, the bus isn't 23 Q. Do you know who was?
No.

AS
F) as

 

_A.

   
  
    
   
  
  
   
    
  
   
    

 

7 (Pages 22 to 25)

INC.
ooo

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 65 of 68
JANENE CASTELLUCCI

 

Page 26

Page 28

   
  
    

 

1 Q. Okay. Were you actually there for the 1 A. No.
2 conversation? In other words, present? 2 Q. Okay. You were 21 at the time of this
3. Az No. 3 trip, correct, Janene?
4 Q. Have you -- I know this is a stupid 4 A. Correct.
5 question but how do you know that conversation took | 5 Q. Tara was 21 at the time?
6 place if you weren't there? 6 A. No.
7 A. I just know I wouldn't bring a keg on a 7 Q. How old is Tara?
8 bus not knowing if it was allowed. I just -- you 8 A. She's 28 now.
9 know? 9 Q. Oh, okay. Tara's older?
10 Q. Are you making an assumption that that 10 A. Yes.
11 conversation took place? 11 Q. What about Dave Maryles, was he 21 or
12 A. I guess, yes then. 12 older at the time?
13 Q. Okay. 13 A. He's 27 now.
14 MR. BAKER: Maybe yourmom asked [14 Q. How about Louis Cacciola, was he 21 or
15 the question when she ordered the bus? 15 older at the time?
16 MR. MacMAHON: Hold on a second. 16 A. Older.
17 I'm objecting to any question unless -- 17 Q. All right. What's Nick's birthday?
18 MR. BAKER: I'm just trying to 18 A. 7/20/1985.
19 get to the right answer, that's all. 19 Q. Okay. So Nick was 21 or older at the
20 BY MR. MacMAHON: 20 time?
21 Q. Let's go back through this because I want 21 A. Um-hum.
22 to make sure the record's clean. 22 Q. Is that a yes?
23 A. Okay. 23 A. Yes.
24 Q. You, yourself, had no conversation with 24 Q. Okay. How about Eileen Mantici, was she |;
Page 27 Page 29}
1 __ the driver about bringing liquor on, correct? 1 —- 21 or older at the time?
2 A. Correct. 2 A. Yes, she's older than me.
3 Q. You, yourself, were not present for any 3 Q. Okay. How about Brittany Crocetto, was
4 conversation with the driver about whether or not 4 she 21 or older at the time?
5 liquor was allowed on the bus? 5 A. _ Yes. I believe everyone on the bus was of
6 A. Correct. 6 age.
7 Q. You are assuming that a conversation like 7 Q. When you say, of age, you mean 21 or
8 that took place, correct? 8 older?
9 Az Correct. 9 A. Twenty-one or older.
10 Q. Okay. While on the trip from New Jersey 10 Q. Okay. Do you know, specifically, who was
11 to Philadelphia, did you make any comment tothe [11 drinking that beer from New Jersey to Philadelphia?
12 — driver that there was drinking going on? 12 A. Not specifically.
13 A. I don't remember. 13 Q. Okay. Were you ever interviewed by the
14 Q. Similar question; while on the trip from 14 police about what happened?
15  New/Jersey to Philadelphia, were you awareordid [15 A. No.
16 you hear anybody say anything to the driver about [16 Q. Were you aware -- strike that. Do you
17 drinking going on? 17 know, specifically, who was interviewed by the
18 A. I don't remember. 18 police of the passengers?
19 Q. Did the driver say anything to anybody 19 A. — AllIknow is the police were there that
20 about drinking during the trip from New Jersey to [20 night and, like I said, they checked the guys’
21 Philadelphia? 21 hands, whoever was there, but they may have
22 A. Not that I recall. 22 collected some licenses. I don't really remember.
23 Q. Do you know, specifically, whether the 23 But that's the most -- I didn't get personally

 

N
g| as

 

driver knew there was alcohol on the bus?

STREHLOW & ASSOCIATES,
504-4622

(215)

 

     

interviewed with the olice. That was all the _

8 (Pages 26 to 29

INC.

   
     
   
   
  
   
  
  
  
   
      
 

)
Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 66 of 68
JANENE CASTELLUCCI

 

    
  
  
  
   
    
 
   
  
  
   
  
  
  
 

 

 

STREHLOW & ASSOCIATES,

(215)

 

Page 30 Page 32}
1 only contact I had with the police. 1 A. No. Not until after everything happened,
2 Q. Were you present for any interviews by the 2 the cops were there, and the new bus came to get us.
3 police of any of your co-passengers? 3 Q. Right. Right. Okay. You did not
4 A. No. 4 actually see any physical altercation?
5 Q. So you're not, specifically, aware of what 5 A. No.
6 exactly the police asked of these co-passengers? 6 Q. So you don't know who struck whom?
7 A. No. That night? 7 A. No.
8 Q. ‘Yes. 8 Q. Okay. Did anybody, any of your
9 A. No. 9 co-passengers, at any time after this, say or
10 Q. Let's go backwards. Attorney Gross asked 10 indicate to you that they actually had fought with
11 you about, do you remember somebody coming onthe {11 the plaintiff?
12 bus, and you said -- 12 A. No.
13. A. Yes. 13 Q. When this guy came on the bus, did he
14 Q. —_-- yes, youdo. Okay. Who came on the 14 appear intoxicated to you?
15 bus? 15 A. I don't remember.
16 A. A young male. I honestly couldn't 16 Q. Okay. I know you said you started your
17 remember what he looked like. I think he was skinny |17 night at Mad River.
18 and he just walked on the bus. 18 A. Yes.
19 Q. What did he do when he came on the bus? 19 Q. Do you remember any other bars that you
20 A.  Hesaid something. I don't remember what 20 hit that night?
21 he said. 21 A. No, I don't remember names.
22 Q. I'm looking at my notes and I think you 22 Q. All right. Do you know many bars you hit
23 said, He came onto the bus. He said something. Do 23 that night?
24 you know what it was he said? 24 A. Maybe, around three. I'm estimating. I'm ‘
Page 31 Page 33
1 A. I don't remember. 1 really not sure though.
2 Q. Okay. Do you remember any particular word | 2 Q. Okay.
3 that he said? 3 A. More than one.
4 A. No. 4 MR. MacMAHON: That's it.
5 Q. Do you know if anybody on the bus said 5 MR. GROSS: Okay. I just have
6 anything back to him? 6 one follow-up.
7 A. I don't remember. 7 ---
| 8 Q. You said he threw a beer? 8 REDIRECT EXAMINATION
9 A. Um-hum. 9 ---
10 Q. Is that a yes? 10 BY MR. GROSS:
11 A. Yes. 11 Q. You remember it was a quarter keg that was
12 Q. Tell me about that. 12 on the bus?
13 A. I think there was a cup of, like I said, 13 — OA. I'm not 100 percent sure but I know we had
14 beer in the red plastic cup and he threw it. 14 beer and I think it was -- I'm pretty sure it was
15 Q. Okay. Did it land on anybody? 15 a--
16 A. I think it hit my sister, actually. 16 Q. Quarter keg?
17 Q. Okay. Do you have any understanding asto |17 A. -- quarter keg.
18 why he threw the beer? 18 Q. Are you familiar with the size of a
19 A. No. 19 = quarter keg?
20 Q. Did anybody else get on the bus with him? 20 A. Yes.
21 A. Not that I remember. 21 Q. It had a tap on it?
22 Q. Do you know if he was with anybody? 22 A. Yes.
23 A. No, I don't know. MR. GROSS: All right. That's
24 Q. You said you never got off the bus? all I have. li

    
    
  

  
 
    
  
   

   
 

 

9 (Pages 30 to 33)
INC.

504-4622
oe
oN

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 67 of 68
JANENE CASTELLUCCI

 

    
    
   
  
   
   
   
   
  
 

 

 

AN
ia

Page 34 Page 36)
1 MR. MacMAHON: Ihave a 1 said he threw a beer but then you used a hand motion
2 follow-up. 2 as if it was a flicking.
3 --- 3 A. Yes.
4 RECROSS-EXAMINATION. 4 Q. Did he flick the cup or did he throw the
is) --- 5 cup?
6 BY MR. MacMAHON: 6 MR. MacMAHON: I object to the
7 Q. You said it was definitely smaller than a 7 form. Go ahead.
8 half-keg, correct? 8 THE WITNESS: Flicked it.
9 A. I thought -- wait. There's a full keg, a 9 BY MR. GROSS:
10 half keg, and a quarter keg? 10 Q. He flicked it? Okay.
11 Q. No. There's no really such thing as a 11 OA, I believe the cup was sitting on the --
12 full keg. There's a half keg and a quarter keg. 12 from somebody had left it there. And he went like
13 A. Okay. If the half keg is the large, then 13 that (Witness indicating) and the beer flew.
14 it was a quarter keg. 14 MR. GROSS: Okay. That's all I
15 Q. Are you sure it wasn't a beerball? 15 have.
16 A. I don't remember. 16 BY MR. MacMAHON:
17 Q. Do you remember what it looked like? Was {17 Q. You, actually, saw him do this flicking?
18 it metallic, was it plastic, what did it look like? 18 A. Yes.
19 «OA. I know what a keg looks like, I just can't 19 Q. And you said it splashed onto someone?
20 remember what we had on the bus. Ijustknowwe |20 A.  Mysister.
21 didn't have thirty packs. 21 Q. Did you perceive any actions of your
22 Q. Okay. Do you know who physically carried [22 — co-passengers that led to him flicking the beer? In
23 on this, let's call it a beer container, onto the 23 other words, did anybody say anything to him in your
24 bus? 24 perception to antagonize him? :
Page 35 Page 37
1 A. No. 1 A. I don't remember.
2 Q. You didn't? 2 Q. Okay.
3 A. Not me. I can't lift that. 3 MR. RYAN: It hit your sister?
4 Q. Do you know who purchased it? 4 MR. MacMAHON: I'm sorry?
5 A. No, I don't remember. 5 MR. RYAN: I didn't know it had
6 Q. Do you know how it got -- I assume it was 6 hit her sister.
7 at your house when the bus -- 7 THE WITNESS: Because she was
8 A. Yes. 8 sitting in the front.
9 Q.  ~got there? 9 MR. MacMAHON: That's all.
10 A. Yes. 10 MR. GROSS: Thank you both very
11 Q. Do you know who actually brought it to 11 much.
12 your house? 12 (Deposition concluded at 10:59
13 A. No. I just know I didn't purchase it. 13 a.m.)
14 MR. MacMAHON: That's it. 14
15 MR. GROSS: Thank you very much. 15
16 (Deposition concluded at 10:34 16
17 a.m.) 17
18 MR. MacMAHON: I just want it 18
19 noted on the record that Janene is being 19
20 called back to testify after Nick has 20
21 testified. 21
22 BY MR. GROSS: 22
23 Q. {just have one quick question. When I

STREHLOW & ASSOCIATES,

(215)

 

    
  
   
   
  
  
  
   
 
 
       

asked you about the person that came on the bus, you

10 (Pages 34 to 37)
INC.

504-4622
a

Case 2:09-cv-01215-JPH Document 14 Filed 11/02/09 Page 68 of 68
JANENE CASTELLUCCI

 

Page 38
Joi CERTIFICATION
2
3 I, hereby certify that the :
4 proceedings and evidence noted are :
5 contained fully and accurately in the
6 stenographic notes taken by me in the
7 foregoing matter, and that this is a i
8 correct transcript of the same.
9
10 :
il H
V2 net enenenennnnnennnannene
13 Court Reporter - Notary Public
14
15
16
17 (The foregoing certification of
18 this transcript does not apply to any
19 reproduction of the same by any means,
20 unless under the direct control and/or
21 supervision of the certifying reporter.)
22
23
24

 

 

 

 

STREHLOW & ASSOCIATES, INC.
(215) 504-4622
